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                                                                                  64 County, Indiana
                                                                                                                   TM



STATE OF INDIANA                    )                  IN               THE ALLEN SUPERIOR COURT
                                    )   SS:
COUNTY OF ALLEN                     )                   CAUSE NO.

SHERRY WHEELER and
MARK WHEELER,
                            Plaintiffs,


vs.


ROBERT IOVANNE,                                        vvvvvvvvvvvvvv




USA TRUCK, INC., and UNITED
FARM FAMILY MUTUAL
INSURANCE COMPANY
d/b/a       INDIANA FARM BUREAU,

                            Defendants.



                            COMPLAINT FOR DAMAGES AND




            Plaintiffs,   Sherry Wheeler and
                                                  m
                          UNDERINSURED MOTORIST BENEFITS



                                                      Mark Wheeler,             for their ﬁrst claim for relief,


state   :




                   1.       On April     9,   2018,   Plaintiff,           Sherry Wheeler, was driving a


vehicle westbound on           US   30 West approaching West County Line Road,                        in Fort


Wayne, Allen County,            Indiana, and stopped for a trafﬁc signal                   when   she was


struck from behind          by Pamela Amett, who was struck from behind by Demetrio
USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 2 of 64



Flores,   who was   struck from behind by Defendant, Robert                   lovanna each ofwhom

had also been driving west 0n       US     '30   West.


               2.      The   collision    was responsibly caused by            the carelessness        and

negligence 0f the Defendant, Robert Iovanne,                 in the    operation ofhis motor vehicle


by   failing t0 maintain a r‘easonable      and proper lookout,           failing t0   maintain control


over his vehicle, and for following too Closely               in violation of‘lndiana          Code §9—21—

8- l4.



               3.      Defendant,    USA Truck,           1110., is   vicariously liable for the


careless, reckless,   and negligent       acts   0f their agent and/or employee, Robert


Iovanne, while he was in the course 0r scope 0f his agency and/or employment                               at



the time 0f the collision.


               4.      As   a result 0fthe collision” Plaintiff, Sherry Wheeler, sustained


physical injuries which      may   be permanent and suffered and continues t0 suffer


physical pain.


               5.      As   a further result 0f the collision, Plaintiff, Sherry Wheeler,


incurred hospital and medical expenses, lost wages, and                    may     incur such expenses


and losses   in the future, as   well as the loss 0f a whole and useful                life.



         WHEREFORE,         Plaintiffs,   Sherry Wheeler and             Mark Wheeler, demand

judgment against      the Defendants, Robert Iovanne and                 USA   Truck, Inc,       in   an


amount    that will reasonably     compensate them for the              injuries   and damages
                                                     T)
USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 3 of 64



sustained, for pre~judgment interest, the costs Ofthis action and                            all   otherjust and


proper relief in the premises and for              trial   by jury.

                                                   COUNT II

       Plaintiffs,     Sherry Wheeler and           Mark Wheeler,              for their   second claim for


relief, state:



                  l.     Plaintiffs,         Shem" Wheeler and Mark Wheeler,                    reallege


rhetorical paragraphs          1   through and including           5   of Count     I   Ofthis Complaint for


Damages and Underinsured Motorists Beneﬁts                             as   if fully set   forth herein    and by

reference   make them          a part Ofthis      Count    l].



                 2.      At    all    times material t0 the allegations 0fC0unt                    ll   ofthis


Complaint,       Mark Wheeler was             the spouse ofPlaintiff, Sherry Wheeler.


                 3.      As a       result   Ofthe carelessness and negligence Ofthe


Defendants, Robert lovanne and                   USA   Truck, Inc, he lost the services and


consoﬂium 0f his spouse.

       WHEREFORE,                  Plaintiffs,   Sherry Wheeler and             Mark Wheeler, demand

judgment against the Defendants, Robert Iovanne and                             USA     Truck,     Inc., in   an


amount   that will reasonably            compensate them           for the injuries        and damages


sustained, for the costs Ofthis action              and for      all   other just and proper relief in the


premises and for       trial   by    jury.
USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 4 of 64



                                                           COUNT     .lll




         Plaintiffs,   Sherry Wheeler and                   Mark Wheeler:        for their third claim for relief,


state:



                l.        Plaintiffs,           Sherry Wheeler and            Mark Wheeler,         reallege


rhetorical paragraphs          1       through and including 5 0f Count                I   and paragraphs      l




through and including              3   0f Count       l]   0fthis Complaint for        Damages and

Underinsured Motorists Beneﬁts as iffully                           set forth herein       and by reference make


them a part 0fthis Count                III.




                2.        On April             9,   2018, the vehicle        owned and Operated by          the


Defendant, Robert Iovanne, was insured by an automobile                                    liability   policy with   Ace

American Insurance, claim number 30023659. The                                  injury liability limits for each


person are unknown.


                3.        On       April 9, 2018, the Plaintiffs, Sherry Wheeler and                        Mark

Wheeler, had in        full   force and effect an automobile insurance policy With United


Farm Family Mutual Insurance Company                               d/b/a Indiana      Farm Bureau        (hereinafter


referred t0 as “Indiana            Farm Bureau”) covering                   their vehicle?      which provided


medical payment coverage                  in the      amount 0f $5,000, and underinsured motorist

coverage    in the   amount 0f $100,000 per person.                          A true   and correct copy 0f the


applicable Indiana        Farm Bureau                covlerage page and policy             is   attached hereto and


marked     as Exhibit "A",             and made a part hereof.
                                                               4
USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 5 of 64



              4.      Plaintiffs are entitled t0 the available limits             under the applicable


medical payment coverage and underinsured motorist policy, and make demand for


the available limits since this collision qualiﬁes under the terms Ofthe policy as an


underinsured claim for Plaintiffs.


              5.      Plaintiffs     have cooperated     in   good   faith    with Indiana Farm


Bureau and have fulﬁlled       all   conditions precedent required 0f them under the terms


0f the appiicable policy.


      WHEREFORE, Plaintiffs,             Sherry Wheeler and          Mark Wheeler, demand

judgment against Indiana Farm Bureau           for the applicable medical            payment and

underinsured motorist coverage limits available t0 them for this underinsured


motorist claim, for pre-judgment interest,       the.   costs 0f this action and        all   otherjust


and proper   relief in the   premises and for   trial   by jury.




                                                        Chad Rgaéy           f)   (28326-02)
                                                        AttOrneWﬁf?laintiffs
                                                        BLACKBURN & GREEN
                                                        4203 W. Jefferson Blvd.
                                                        Fort Wayne, IN 46804
                                                        Telephone: (260) 422-4400
                                 - INDIANA FARM
                                '-.BUREAU INSURANCE'
                                                                                                                      '




                                                                                                               DECFARATIONS
                                                                                                                                               '




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                                                                                          Company
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                           ,
                               PolicyvNo.                                  Vehicle   Type                                             Reason
                           ‘0005148I43                                     Van                                                        Certiﬁed Declarations
                                                                                                                                                                         '


                           |Policy Period

                           :me         l 145-2017 lo 0545-201         8 ul 12:0l      am. Standard Time
                           |Agenl:    Name and Plume                                                           Mung
                           §CALEB FEATHERSTON                                                                  7217       ENGLE RD    —
                           icalcbfcalhcrslonﬁéjiﬁfarmburcauﬁom                                                 FT WAYNE 1N 46804-01 18
                           {(2602 432-8744




                           Named       Insured
                           WHEELER, MARK
                               3422   EASTWOOD DR
                               FORT WAYNE           IN 46805-1 608




           Garaging Location: 3422          EASTWOOD DR, FORT WAYNE IN 46805-1608
           This Declarations, along with Personal Auto Policy Booklet    PP 00 0] 0| 05 21-276 5-1? and Auto Endorsement Booklet
           21-198 2-16, constitutes the entire contract between the parties. This Declarations replaces and supersedes any previously issued
           Declarations baiting lhc same policy number.

           Policy Period Deﬁnition:         Thc term of thcis from lhc cﬂ‘cclivc date l l-l 5-201 7 lo the expiration date 05-1 5-20l8.
                                                                  policy
           12:0l   am.   standard time.      No      provided for any accident or loss occurring on the effective date if it occurs prior to
                                                  coverage   is

           the time the application was signed by the insured or the time the premium was paid, whichever is later.


            RATING INFORMATION
           Vehicle Year         Vehicle Description-VIN       Number                                           Vehicle     Use                     Garaging County (Twp)
           2003                 FORD EX'PLOR ER X LT XLT SPORT                                                 PLEAS UR E                          ALLEN (ST. JOSEPH)
                                NB-l FMZU73K63UA97599

           Rated Driver                                                                                        DOB                                 Clams
           SHERRY L WHEELER                                                                                    09-28-1962                          SSAPOO

           The named inSurcd understands            that all coverage        under        lhis policy will     become void should    the vehicle bc liccnscd in any slate
           other than Indiana.



           Coverages                                                        Limits
           A   Bodily Injluy Liability                                      $100,000 Each Person, $300,000 Each Accident
               Prepcrly    Damage       Liability                           SIOOBOO Each Accidcnl
           B   Medical Payments                                             $5,000 Each Person
           C   Uninsuredenderinsured Motorists Bodily                       Sl00,000 Each Person, $300,000 Each Accident
               Injury
               Uninsured Motorists Property Damage                          $10,000 Each Accident
           D   Other Than Collision                                         Actual Cash Value Less $250 Deductible Each Accident
               Collision                                                    Actual Cash Value Less $500 Deductible Each Accident




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            USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19  page 7 of 64
                                                                         Company    United Farm Family Mutual Insurance

                                  Policy   Na
                                 0005148143
                                  Policy Puma

                                  From 11452017          t0   054572018   at 12:01 H.111.   Standard Time




       APPLICABLE EXDORSEMENTS (REFER T0 ENDORSEMENT BOOKLET)
       Applicable Endorsements                                                                                               Limits
       END 01         05 l7      AMENDMENT OF POLICY PROVISIONS
       ENDIO 02             l6VALET 'I‘RANSPUR'I'ATION EXPENSES COVERAGE                                                     330100690000
       PP O4 69        i0 15   UNINSURED MO‘TORISTS COVERAGE — INDIANA
       PP I4 02        10   15 UNDERINSURED MOTORISTS COVERAGE INDIANA                         -




       ACCIDENT-FREE DISCOUNT
       ANTI—LOCK BRAKE DEVICE
       MUIJ‘IJCAR DISCOUNT VEHICLES              ’2



       PASSIVE RESTRATNT BOTH FRONT OU'I'BOAR l) SEAT POSITIONS
       MULTILINE DISCOUNT HOME 0R. FARM           -




       NAMED INSLTREDS. ADDITIONAL INSUREDS. LOSS PAYEES AND ADDITIONAL lNTERESTS APPLICABLE T0
       THIS POLICY
       Named Insured
       WHEELER. MARK
       3422         EASTWOOD DR
       FORT WAYNE, IN                  46805—1608


       Loss Payable Clause: Loss or damage under this policy shail be paid, as interesl                     may   appear, to you and the ioss payee       shown
       in   the     Declumtionx This insurance with             respect t0 the interest of‘the loss payee, shall nol   become    invalid because      ofyour
       fraudulent acts or omissions unless the loss results from your conversion, secretion or embezzlement 0f "your covered auto"_
       However, we reserve the              right to cancel thc policy as permitted         by policy terms and the cancallznion      shafl   terminate this
       agreement as to the loss payee‘s interest. We                will give the   same advance    notice ot‘canceliation to the i055 payee us       we give   t0 the
       named insured shown in the Dcclamﬁiong


   *
       Denotes a change since your               last   policy dcclara’tmm
       CLAIMS REPORTING INFORMATION
       For your convcnicncc, you                may   report a claim by phoning      1   300-723-3276 or logging on    lo   mixing gmmaﬂmm




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                                                                           Issue Date 0250592019                                                          002     1229
          - INDIANA FARM
           USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 8 of 64
     I... BUREAU INSURANCE'
R0. Box I 250       °
                        Indianapolis, Indiana 46206-1250     'Piume 3H-692-7200



                   FEBRUARY           5,   2019



                   WHEELER. MARK
                   3422     EASTWOOD DR
                   FORT WAYNE              IN   46805-1608




                   POLICY 5148143


                   THIS TO CERTIFY THAT THE DECLARATIONS, INCLUDING THE REVERSE SIDE
                            IS
                   THEREOF,IS BASED UPON RECORDS MAINTAINED BY THE COMPANY IN THE
                   ORDINARY COURSE OF BUSINESS AND ACCURATELY REPRESENTS THE ENTIRE
                   CONTRACT BETWEEN THE PARTIES AS OF 04—09—1 8.

                   UNITED FARM FAMILY MUTUAL INSURANCE COMPANY

                   BY MICHELLE LANG}: — QUALITY CONTROL SPECIALIST
                   QUALITY CONTROL

                   dk




                    United Farm Family Life Insurance   Company   '
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NDTIL‘E

The amount 51mm!                                      in the “Declarations“                        Is       not necessaﬂi} the magnum                           mu wilt erecche              a_I


Ihe {hue nf loss qr- dmage for aha described pmp'ert} PLEASE refer to 1h: limit 0f Liability
Prmisians 1n Part D hf the pnlicy.
         USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 14 of 64
With respect             m ihe cownme provided kw {his endurSemem                                                           the    grandmas 0f the           pulimr   apph unless modj’
Ee'd
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Exam; Elgplrunic Equipment
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                                      added       14)   Paragraph A. nf the Limit                              0f Liability Frmﬁon                   of    Pm   I}:

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Subject Io              all   Ihv terms           and conditions qf the policy                             t0     which           Ihiisﬁldoriemeni 15         altmhed and       Ln   runs Edm
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            Part Anmi Part B DE the puUé} for any "accident invqlvinn

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           Bj.     Mehlcle Owned                        h'yi:      ?’fmuh        mcmber“ or
           'ﬁ.     ,Mempo‘rmy substitute which:                                   fur   Such owned vehicle described                               m A. or B          ahm‘t:

 ﬂ.        I‘m A — liability Lowragn
           Em A is amended as fallgms Wiih mpcci 10 the mdmduaﬂsﬁ 311mm                                                                             :I'S   appllcablem Ihe ”Déchrm
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       USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 15 of 64
lil‘    Part1}                   Medial [iajmcnts‘ﬂuvcﬂgc
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am! “family mrmbers

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        B       A vehicle mmarﬁ by n "[iurﬂﬁ mamber‘;                                            m
        E.      k 1cmporm" subsiituh; which for such mvned; whiclc desalted                                                                 m A or E        alum
 EB.    Part A- Hahﬂity Emerge

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        B.    .,'55;:'i:   E5111     pmﬁde Willi} Euﬁemoe ariwlng um 0f the operatinn iif a wbigle Mild! 15 funnishad Gr
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        C.~    Exclusion B. 2                         is   rephCeti      11y
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m.     Part E                    Medical Payments Lthr-age

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        C.     Exclmien                   S    b.tephred ﬁg the fnﬂawjngr
       USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 16 of 64
                      We do not prmide                          Medical Payments Cnurage ior an} ”insured" fur "bodily Injury                                                  sustained
                      Mﬂle‘io
                            Qﬂcupying“,                         m thn muck b?                     anyrchiclc {Miler than jnur                         mveréd    auto       D   which   Ls:


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                      b Eumniwd 0r Mxmble hr your reguiar use.
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                                           {1)          Fnddeﬁﬁﬂ         l4)    iwjltt'r‘ﬁusimﬁ“            ﬁl’
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                                           (2)      For fanning                c}?   ranchlng

         B.‘      The dcﬂnitinn at mer mmml 3mm"                                                 is   rt    mm ad by lim- {01!va
                      “Your ensured                      mm" mans:
                      1+ Any               artliicie       damn in        the        ”iminmum
                      2.       A nwﬁ mama 311w“.
                  3.           My “lmij m" gnu awn
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                               deacﬁhml                 [n mix; deﬁnltiun             which     is    uul    {1E   nominl use becmgé 13m;

                               4L,     Breﬂuimvn;
                               h,      Repai‘r;_,

                               c};     smiﬁng;             '




                               d-      1.035;       61'.


                               e1      IRﬂr-utﬂi‘ari.


                               This Proﬁsion‘fi} doses not uppi‘y'm                                    Cm‘cqge For Damage To                     i’our Ami)“
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         E‘.   The faﬂmﬁng deﬁniﬁon‘is                                         ldded:

                      "Nnn-mldent relatives                              memstwo 0r marc prisms rdatcd hf. blond                                       marﬁagt' or adoptiun            Mm
                  reside             m separate.- househpld<                          Thia includes           ”J   ward     01'   foster child

 Hr-     Pyrir:
                           A-
                            makinw comm:                                       .-




         ’Ili'e       fblimﬁﬁg mcluzﬁb'ri                        i5   added          ED Part hf

         We {In                nut 111316}th Liability (.mcruge fur                             um     ownershipj            nutmemnce            ’01"
                                                                                                                                                         use DI any vehicle! ather
                           your       cmvéwd mm”. IW {m}:
         mun]
                       ,       “Nunwresident relative“: m“
     USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 17 of 64
                  2.      "Family         memhcr”             of g1 “'mnar'eéidént minute":



     PP 03 23 U1 05— MlSﬁELL-ﬁNEOUS TYPE VEHICLE ENDORSEMENT
This   endowment thanges                             the [)0qu. Please read             il   tamfuliv

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inﬁgrecd           mm: Limit omuhlliq applies “her e a preml um .md a limit alliabiliw                                                 ls   shown   Fur the   (Imrage
in the “Declarakiuns”

NOTICE
Fur the Collision                       51nd   mimr'l'hanﬂollisinn                  Cm wages, [he mhdunt sham: In the “Dahmljlorm”
is   not     mccwu'ih                    ﬂlé amount you will re'ceiw                     fat   the time of loss m- damage for ihe described
grapeﬂy. PLEASE refer ta ﬁle Limﬁ                                         (if Liability      Pm» islon beluw
Wiih raspeti to               Ill‘e     “miscellaneous wewhides" and                  emerges dcsmbed                       m "Deciumhnm'"            {he provisions
0F 111:3 policy upph‘                   unlm mndiﬁédhy                  {Ins   mdorsement
     .Deﬁniﬁuns‘
           'Ihe   Deﬁnitions                  Sécrfo'n is      Mmded as [01mm
           A.     Far ﬁle purpnse 0E the                        Emmge          prmided       bf.        this    endorsement “miscellaneuus type               v_ehicié

                  mcans         :1      mama" home, rnmumcle qr                    ﬁthér'    ﬁmilar type «Ehide,               31H   iermjn 5micle1 dune bugm‘
       ‘
                  m" gulf m1
           B.     l’hi:   (Muﬁiliﬂn            iii   "vour [tmred          .i‘um“ :5 mpimtixi bx ahL l‘tallmvfng:

                  “3cm:        mmrvﬂ auw” man‘s;
                  I,    Aﬁy             nmwﬂmmm type whicla” sham] In                                   Lhén‘   Manhunt.“
                  2+    A      ”ntﬁﬂsiy       auﬁun’d auto
                  3;    My         “trsﬁk:rf‘
                                                     ”n'r
                  ‘4,
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                        a.         BMMGM,
                        lb‘        Répfair;
                        c.      'Smitmg;
                        ﬂ. L055; m"

                        e,         mmmon,
                        This          Pm’mion [a J             d_ot's   mi apphr tn {m‘emge fur lrunage lo tour Rum
           13.-
                  [lmmgmph               l.   afﬁne definition of ‘E’mﬁy acquired auto“                            Is   replaced h} the following:
                    -


                          ”Neal?          nchred 1min”             mam         {Ln} 13f the fuilnzr‘m‘ng          macs of uﬁhiclps 3m; become me an‘tr
                          of   dunng lhc             poiicy paritid:

                        :3.        A prime passenger                  auto,
                        b.         3s   pickup Dr Wm,           fur   mid] rm other msumnce paliq                          provades Coverage, Ihm:

                                   (I)        Has z‘ﬁm'sg ?‘ehjde              Weigh    Hitting         deL .000 lhx        Dr   less; aild

                                   (2)        15 not     used for 13w deliver} or «rampariaﬁnn of gonads and materials unless such
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                        c.-        M3.|~“I‘iii$c£iiaﬁei)n$ 133m            whim“        pf the same. @1312              Swim
                        in     the “fmhrui‘mm'i

IL     Part A a'ljabilitylcm‘crage

           Par:   A i5 amei‘najez‘l            as.   {hhm
       USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 18 of 64
        A.    The deﬁnition of ”i'nmr'ed‘js rppm‘ced by Ihe fulidwmg:
              “Insured" means:

              l.        You or 11W "family member                                Eur      thequership, mmnlemmae nr use sf “murmvcmd                                              mule".
              .l.       An) perspn 115ng “ynur covered auto"                                           ,




              3.        th‘iuur covered mm“ any                                 mm m mgamutmn                               but univmlh mime: to lefgﬂ reammdtﬁlm
                        fur   um          0r.   ommnmw M a pemm                              fur.   Mmm cumiﬁgé is affmdml undur 11m Fan
        B.    Thu Exglusionsmmn                                [3'
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                        “hick.

                    law-      Has ﬁm‘r 11mm rpm? 55min»: ﬁr
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              ‘2.
                        11m fullmslng mciusinn                            zipplivs         lilldésr'       Par!   J‘L   m   1m}
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                        Indlww             11   J! ﬂat:     mama hazard                           is   excluded

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ILL     Part 13— Medium} Paymeuiﬁ.
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                                                                     Envnmge
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        A, Tbs: ﬁﬂlmﬁng                     $5    added» iﬁ'm'c Iiégnﬁng                         agrmm
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             .u   "gnurwwrcd auto” 51mm luﬂwmlchm mm” whim immuwrhnmc. It'll}:in smh [403mm
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                    b         Remit;-
                    ﬂﬁéﬁiﬁing
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             L      ExclLisimi              7..   dries     um apply m;
   USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 19 of 64
                     :1;      Anny   “miscéihmgouﬁ                  mm ﬁsh‘icle”, shims'ﬁ                           'in
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                              ”Mi                                                                                                                                           .




                     b. Faﬁiliﬁes or equipment desigmed ta hanged                                                          mini; Ihe   described minor homgwhiiz‘: in ur
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      USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 20 of 64
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               E.       Part    ll
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                                           Medical Payments Covemge Exalnﬁinn
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               C.              «Cmc-mgé
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           b.           Fwd b); Dr
           cw           in   the;   Care DE

           1km person                 112'   argmﬁzalion,‘




                               PP 05               212      01      95-                WED NQNHOWNER COVERAGE
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Unisex uthLmdsa indimied 1n the                                    “mhumiom                            mined Kan               mum Epsmge appliws om}; m Liminmuidmﬂ
named in                {he “Deciumlioris”.

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spouse 1nd                   “family,      members
H indicated in the “Declamhans”                                      lire   excluﬁians Eur windeaﬁmmhed 0r nitﬁﬂabk fur regu! Ir use under
Fart      :1   a    [.I‘zi’hiljt}    and Pam            B    BiLdiciﬂ       Pmmtms Gummy. d4} nor. appl}
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unlﬁs mndiﬁéd by                           the.   indursémen't

     I.    Deﬁnitions
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           h, The              d_eﬁﬁ'illims            DI ”$5M” mdf'yaur" are rﬂp’lacled                                   b1;    the   falvluwilu‘g:


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           B.-          Th0 ﬁcﬁulﬁoﬁ 0i 'ﬁmﬂk‘ mimihﬁr“                                          ls r'Eplgcéd           by 1hr:   fuming:


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 USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 21 of 64
               “Funﬁly          member" mama. i1 [163m                                rEglzﬂml Io       ynu hy hlmdi mgrﬁztge m" adaption; including                                1t

               ward or          En‘ste‘r         'chiid      if:



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                       meimhers“

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               mmer‘

                      a.glpn’s       Lie pasmigw sum; or

                      h.       A pickup m." min llu‘u

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                                             m_ﬁgs   iii;




                                             {31}       laddenm 11:35:;‘J'ur               "ljlﬁiﬂtﬂﬁ" 0f mginminil‘ug                   ur rcpgifing mmishiugs:                  m
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              Kiting] [he dcﬁnltia‘n                         af‘insured"         is   .mended            by deleting rrfc‘rmcé Eu "famlh                    memer“;
     B.        The Exclusions                      Mon              Is   minded 115 follmvs
               1      Ewlushm B .‘2                     ls   rephmd by Ihtrfaﬂmszing:
                      WE du          not       pmﬁﬂe [luibilljty fmemgc fur 131E mmémhip, nmntenmce m                                                     use 0f :myvﬂude
                      anther        dun          *yaur covered             111120"    which      i5   (swam! h} you.

              E. Th1: fdllwiﬂna Etciu‘éioﬁ 1s added:

                      We     do nut            pm? Mp: whim; Cawmge                           fur aim          nwnemhip, m.ﬁntmanru p: use 0f any vehicle
                      nihu‘r        ﬁrm your                 cm’crEd Rum", which                 is    l'urnimd {m zwilahla for ytmr regular                         list.


              lloueuar              Lhis.’    Exclusion {2 j dim moi jappl'y‘ ifthc 'Deuldmﬁon'”                                            Indigéte        L114:   [hi Vehiclés"
              Flimishéd             Di’      Mmmhfe Fer Re'guiar U51: Excltﬁlon duéﬁ'nm appI}:
              l’mlgmph               I1   afﬁne Limit                0f liability Prmmun                        is   wplumi by thé         following:

              LIMIT         {IF      UMILITY
              The, limit        ufﬁahlhrysihmm                       In thc“Declumljnns‘-‘ far                   each person for Barbi} Iniuryﬂabiiiwls our
              maximum mliof liability
                                    11                               thrill]   dgmages. Including                    M2305 fnrmrello                     ulse'nines-{fr rim}:
              'aﬂamguui              uf'                     mJUN smtmned by any [me perﬁun
                                               bodily                                                                     in   :ij o‘ne Hum “aceldent” Sﬁbject                     to,
              (hi5 limit fdr              each pers‘oh the                 limit     Ufhahihty shown in the                    ”necldmmnb fur each “:1i:ciﬂent"
              far Budjlg' Injury liaiaﬂiw'as                             Lmr   nmimum               l'u‘u‘it
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                    he Iinaitefﬁubiﬂit} Shawn                       m 13m      {[Jtlnljwumn‘” Far ﬂachaccidcm l‘ﬂrPr‘qpen}                                Damage liabililyis
              mlr     mmﬂnu‘mt[mil n! liability fur ﬂig' ﬁfaptrixﬂxmagv” rmuiung fmm
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   USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 22 of 64
              l       "Immedsm               q



              2       Claims made;                                                                                                                                         \
              3,      E'ehich‘“:        0r pwmium‘s Shawn                            In [he     “Dec!     WHOM“: ur
              41 vehicles               imulml            E11   lhe- {11m}        “accident”

       I].    The      mu 0f Siam (10“.ng vaiﬁoni s regjktwd                                                          11y
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              )2)“     nude 5w Will                     mierprci yx‘mf 'puliwﬁjr                        11121   aﬁcidml”           as”    fnﬂum.
              If In}: gjgtu          nrprm'ncgjw.
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                      “pmpem                dam. Lgc“ higher 11mm Ihc                       Inmizbhmm                1:1   lhé    [maraliunsﬁ                  girur puiity           ml] primate
                      1.11:;   higher spmihczl limit
              Z4      :1   cmqmlwwimumm {tr siimilar law remitting-a nonmsidc                                                             .1:   la   minim. inqumnmdmmr
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                      ru‘quired minimum muunu mid                                          nrpés pf mveraqL

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                      u‘
Iii.   Part       B        Medical Paymentslloverage‘

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       B.     The Exclusions Seéiiun                             LR   :mtmded mi failInur$:
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              l                                    ls   replaced by the folkmng

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                      i5   owned by Wu.
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                      “Me. “xbc‘cwmn                      ,
                                                              anther} almck by 31w séhidej whet {him “your w'r‘ered auto" witch                                                                       us

                      ﬁlnushml or avaﬂabk!                        [or    mu! régular 115e,;
                      ﬂown                  this   Lttlusion (2. )_ dues untapph                                if   1h:    "Dénplmtmns indium                             thaf the Hehicles
                      Fumishe'd Ur                 Ainiia'bh:         i501“   Regular Use Exdusion dues not appi}

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                      liability fur          94d: pérsuh              Imam] m ﬁn}! um? ”accident”                                 Tiualsthe most WE will puv régarcﬂess                                    .




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                      3                       unabshmm
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       Part i}     ES   :ﬁnandﬁtl            :1»   foliaws:

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       B The           clehnj Linn 0f              "uninsured           nmmr mil: Ede" is aﬁmdwi 1m hﬂlmvs:
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                      mid tin: state in Mild: yum midr, asslmwn {m the i‘Dcximrhnus'i                                                                      ,




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 USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 23 of 64
                                                              ‘
                  II    Ihe     ”Declaratms"                  m'ditate that                Named        \on'Owner applies lo the \am‘ad Individual                            sin:

                  hit :mdnrun vehitle section                             Is   mwded               bv   dalmng relere‘nce t_u ”Lunﬂ} member‘
      c.    Limit       arming
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                  The     llmii cf        I‘L:ihiEI)'       511mm         in the           ”Declﬂmtiona“ for end] person for Uninsured Mofnz'isis
                  Lmerqge 15 our maximum limit ofljabiﬁh‘ for n]! damagess including damage; for                                                                    me 10a:
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                       tandem         ‘   Subjeit           m 11m: Iim'n         IIJ‘I
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                  fur all danugw fur “hmlily injuw'.‘ maidmg from nay onc- “accldem”

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                  3.     Vehides          n'r
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                  gt.    \lhtdﬁ           §anth 1n aha “3ch dcrti‘i
            3‘    II    the   "DMJLHEGW"                     {ipr Lndfltaies               £111   rich ”'aCcldenf“      limit of Hahlﬁnr far             Fmperky     Dmage
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                  3        hidfwr pﬂ'a‘m'iirns idltnmln ﬂw'fmlamimm mt
                         ‘ti‘



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11   Undtﬁnsuml Mommas Cnvcmgc
     if iilt‘    "Uéi‘imnum" Indium                            that   lfnﬂédnaurﬁd                   Mmumb mvlmnu appiit‘fyz                      Eht    pruminns         13f this.

     Underfnmred Wiltrn‘ﬂh                        Cm          Age fmdnmmt'ﬁi muﬂé a                              J‘Iarlﬂfﬂn‘» [miiq' apply Eitﬂpt             :13   {uﬂﬁw’31

     «L    If ﬂu:      ”Dmhmhonh”                     indiramt      Rm Named Nnnﬂmwr £4)wa appﬁeﬁ uni;                                              Err    {he Imméd imb-
           ﬁdual inc déﬁnﬁivn                         (sf   “Inbund”           m amended bydededng rafamfuio                                ‘famihr       number      r




     'ﬁ
           Thé dahmtmn uf “underinsumi nmivw vermin"                                                     ia   ammdud        :12.   fuﬂmm:
           M1}    refmncé to the $19116 in which murcuwru! us pﬁmpaﬂ} gmtgéd                              .m‘lo‘“
                                                                                                                                                    ls    mended      10'
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           mt: slate in“mam mam mi shmvﬁ m] t_he “I‘mlamuom”
                                                  ‘




           If 1hr:      “Mammals                       allsn      intimate       am 9&th                mullem”       iimi: 9f liabilim far          Pmperly Ihuimge
           lndx-timumﬂ Mutuﬁwb                              msemnc             tin":   fnﬁwhig           Li   added   1'0
                                                                                                                            Pm graph        Ag:

           ‘Thé limit 0f lﬂhlllt}                 sham”1n           the “Dmiar'lﬁvns”                     Ian“   Heft :tuulunl {Qt Frogwru' Dumﬂgi: Under-
           imréd Mmmisin Emma; is nur nmimnm                                                            limit u!   ii .tlﬂlity fo'rl
                                                                                                                                  all Mingus {n 31H prinm}

           mung)" [min any (mu acﬁévnl“
           This; £5     ﬂm 21mm m: thi pay maardlmqnf ﬂu: number 0f:
           L      ‘ihsurgds";
           2+    Huims mama;
           3     Vehicles        m premium 31mm                            in lite in the            “Declimﬂnns”; or
           Ii    Vehiclrs {nmlwed                     [n    ﬂm ”amdcni"                .




                                                                                             13-
       USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 24 of 64                                                                                                                       ’




       PP 03 012- 06 93 — GPTIDNA'L LIMH'S TRANSFORM!“ EXPENSES
                                                                                                 CDVERAGE
 Th’ig
            endmmuent changesme pdliﬁt                                              Pleaaysjrtfad        "it   cmﬁﬂiy.
 WM]         respect to ﬂu: ’cjm’emgeprm‘dcd by [hi5 endorsementh ﬂae'prm'i‘sinnsbf ﬂaupoiiq                                                                               apph'uﬂm mudiw
 ﬁedbymmdmémmt                                                              _




 'umom umii‘s Tampa miticm WENSES commas
                                                                                                                                  ‘




 when there i5 a lass tn a “yum! covered nutd'v dﬁscﬁbed ﬁg tlher‘ﬁij’eclmﬁgns” [qrwjﬁh speak PrE-mjm                                                                      i.

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 “urging


’Cm‘cmge'fqr Thinspc-naﬁnn Expenses proﬁtﬁd under Purl                                                                        D of ilﬂsvpnljcy-isincmascd m ihe limits shown
 in ibei‘imclamlisins‘ﬁ




              m1 mi         97;»:


 "Eh'jks’énidq‘rsmﬁemfifﬁlm'ched
                                     .06 9,8
                                                                - SINELE‘ umnmsunﬁﬂ MMDRISTS
                                                                [:2   gum pﬁliyci};              cﬁmmgea‘lheipdliﬁy pmaisidnsi Please rend                                      ii
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 W11}; respect to ﬂu:             ‘cmjemge provided. by                               this;      Endorsemnl,                   the: provisions             Ofﬂm poiiqrapﬁh'uﬂm                   nmdii m
 ﬁeld b3 the; ‘gj'acfzdmmgrmf

'Eamglﬁaph A,             [if lht“   Limit rill.” Liability vaisinn in the Undeﬁnsuru'd Molnﬁﬁs                                                                         Commgc Endorsement
‘13
       Miami! hyal’hgk [niloivingg
 unjrr 6F mm‘u'n‘
 The       Ijinit    Df‘habilin’shmm                    if!     [he ”ﬂwlamﬁidng"                        EM ‘Uﬂﬂer‘insyufed’MowIisls                             Cm'emgi!        Esqur'mﬂmum
15m it of liability [arm]                damﬁs-‘EBS             11mm caff‘bmliiy injury” awning {mm any mm accident 11:35 is [ho mm
m3 wiﬂrmy :rfejggar‘dim                      oi   the:    numhr             11f:



      l.     “insureds”;
     '2,
             .mims; n'j'acfg»            ‘
                                                                                         ‘
                                                                                             L                  _   '




      ﬁg     Yehigilﬁicr pj‘éiidurﬁgﬁhwl1                               m       t’hs‘:       ‘-‘li§ﬁ:&fﬁtlajnﬁ";             ia‘r


      i.     \‘ilaiclcﬁ   inﬁjsimi in             ﬂat:     ﬁﬁccitmm“.



 r12 :04               ﬁns 9'3 _ SINGLE MNINsumﬁm‘rﬁmSis LIMIT a miirm
This        mdamnjem mamas                             1111:    pislingg            Flam?        read   EL     CamfuigyL-

With fﬁ‘iﬁﬁt’tp            13_Ic{cm‘iét¥;igc             yﬁiﬁﬂcti hsftllimiﬁnﬁéiﬁmﬁi,                                         l‘lm’prtr‘éigaimm bf            dzéjpcdiqiﬁppiy’unigﬁ misdi-
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Iied       by   Ha;-   cndnmmml.
Paragmm 3g «if mi: Liq‘nii' 01' lialqi‘iity‘ Punisiium                                                hi}    Paii           [Q L9     'rcpzamj       b}:   mg i’gfllqwmg;
umber magjm                                                                                                                                                                                  V




The                  9f ﬁabﬁjw                                  timlgf‘faechmgiqns” {gar 131B coverage                                                       minimum Emil aqi‘iiulxilily Far»
           ‘Iinili                   $110111: in                                                                                               ifs   «our
.113   dumglges        ifc'ﬁilltmg       [rum          5:19}!   glue    “miidm‘i’i                 'ﬂli‘s    Lime IIJQSIWC Will                       pnngmidlm i1! ﬂat; minim: 0E:
      1;     ‘fflﬁgmmis'ﬁ

     Z;     .mlms       [11339;      7
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  $5,.      »W1ﬁlil$j!ifpfm}iun1§shawl]. In thé: “‘Diéclarafiﬂ‘ns";                                                         Ijr

  5-i.      Whicl‘w' invoked ‘m 41m ”accident".




                           Pp:       03           2,0         .071"
                                                                       0.5          eSNﬁwMﬁB‘ILE'ENMRSEMNT
ThJs e‘ndnrsiament changes 'ﬂle‘ptﬁfqn Plt‘asa rend                                                     it   cmfuity.

Far    {?qllyi‘sinnjand Olﬁcr'mmﬁoﬂiﬂ gin Qiiirﬁgtﬁ ﬂié "anm'um 5119 Tm mils: ”II ﬂﬁrﬁiioﬁﬁ"
           ﬁth’é

lsnut mcpssaﬁﬁy ihe‘mnbunt you will recehem the ﬁmenflas‘a nr dnnmge'fnr lhe described
                                                                                                                                                                    '




“snowmobile‘ﬁ‘l’lﬁﬂ refe’rtn the Limit ﬂf Habﬂiﬁ‘fl’mﬂalan helium

                                                                                                        H
    USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 25 of 64
With respect [a Lhé ”snms'nmbiivs' and mvemges lisied m [he “Deciumnons” 111E provisions 0f:he paliq
uppl} unleas madlﬁed      this mdummcm     hft


 lﬂcﬁniﬂnns
     The beﬁniﬁdm                           Euctioniis              amended            :15     fﬁﬂows:

     2L        For    ﬂwpurpw: ofihc coverage provided b}                                                 this   endursemt m lhe lermx “mm                           ',   ”rumor a‘ehitle"
                                :hir‘le"
               and                          are repkiccd                   h}; [he term *‘snowrnohile“ accept fur L-ninsured Mutmi'sts Coverage.
                          “1.



               1n Utiiﬁsurial               Motundmweraga! 11w. lam! “mirﬂhrml meamr x'élaicte" mcludm a “qnuwmoblh”,
     'B.       Thé        ﬁ‘ﬂlﬂwing definilitm                       La    auidﬂﬂ:

               “bﬂuwmnbﬂe” mums;
               1.     A     hind motowéhic‘le which                                is:



                      afkmigmai                           Fm“     w; minty elf public mails mt mm!» nr we; and
                      h             Pmpeilod              Mrhtiy       mam; 01"th Eulkming 0r similar mechaﬂicfd déﬁceaz
                                                                     b1.



                                    {1)     WheéLs:
                                    [2)     (*rawleﬂmvlrmds                              «Jr

                                    (3)     Bulls,

               2+     A     “miltr' {igﬁigﬂtﬁd [Dr being                                 Imam h}:            13m 11m for   Immurﬂng,                     a vﬂlicic        dmtlhml m            L
                     zthmc,

               319mm “5mwnmhitc” dais r10} inciudc anyvel'iiciczwhjch                                                         ls   [tmynrllenl            by aimlmzt: Eypc               pmmi
               ll‘rﬁbf [3113;
     p.
               Tim term ‘fynurérirwm‘l mun" isrcﬁlnced‘hy the mm] “jaw mutegcci 3ncnsw‘zmh,ll¢”. “‘mur                                                                               comm
               m_wﬁiﬁ hﬂ&"~ mégtr'u:
           ‘




               L My ”smuwn‘mhi                 "[kﬂmiinm”  iii:    $136331:
                                                                               ‘ijn'

                                                                                       the
               Z.    My “Hmmmuhllc m1 ihc dun yuu htmmﬁ th miner                                                             “§th proviﬁlnu appites only                            ji   mu:
                     11             acquire ihe             “snmmmhilﬂ                    during Ihe punts; period; 11nd
                      IL            $5}:   mi    [n       inzium     it   within       30 jam aﬁcr you bémrne                 ﬂu:    mmvr
           ‘3. aﬁny“mn\smﬁhilt“                                    51m [k5 nui         mm       nllile'      med m. menlpomry             suhsﬂtuto far anymhe'r snnws
                      mobile“              dammed                  In?   ﬁlls deﬁnition           Mild:        [s   mu 9f nﬂrtml um hating}. (bf EL»:
                     31             Breakduxm;
                     b.             Repur
                     c          .   Mmcmg.            ’




                     d._            1055301"

                     (a             [Minimum
                     ’ﬁliﬁ           Pn‘mhiﬂn [3 3                  13042-3   mt :15:in u: Cavanigl‘: h): llamagé                                 1'0    \Ollr Auk}

H.   Part       A— liability thgge
     Fm        ax   ijs   magma                 'ns
                                                          fommrgwmnes‘pm ta‘n mmmhmtea
     A.        The deﬁnition                    n! “insured' f3 ?Egphlmd b} [he folimmng

               “inaured' means:

               l.    You Dr            MW        *fzmuh            member fur the mmerainp mummnmte hr. use. 0f 21m *‘sntmmhile                                                                .




               2.    An} pertain using                            “yum covered snowmabilc                           c



               5.    Fur             ymr nriyerei! mummh: i9"                                  any   943mm      owrgmwtmn bmmihe with tweet lo legal
                      reﬁpuﬁﬁlhlhl} fur rims ﬁr                               umbumm              vl'
                                                                                                        :1   pamm rurwhurn Lmruégt, r: Jﬁstrﬂed under this
                     Part
               44    Fur any *‘a‘mmuohitc“ 11th:: mam “your                                             om Ml snms'mubl                  “g

                                                                                                                              11mm) ornrgmﬁxuﬂon but
                                                                                                                                   1:9        21,213.:



                     'imly miiEh            ram             l ii) k. gall     rugubn‘stbi lily          Eur 2&th m omissimzwiwa m    "fﬁmi manta"            $313”           i2}?


                     fdr            Wham cuwijape                   I5    aﬁurded under              thik.    PirL This pro’nlﬂon Appliés (me ifthé                                 pimn gr
                     organimﬂan                       tide» I'm!          mm nr        [llre    the ”smnmeihﬂe“.

     B.        The Exc] usipgs ﬁfmnn                                 Ls;   smmﬁded m} fullmvsf:


                                                                                                     15
                   USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 26 of 64
                   .    Etclmium A. i3.                  31nd   L?        ﬁre wplﬂted by               lh'é      following:

                       We do not promde                        Liability   ﬁomrage {Drama                        inmretP maintaining nr using                      :1   ‘mmsmobile"      [n   an}
                        “bumem‘”         .




                        Etdmiun       3.1. does nut apply.

                   .    Eoidusioﬁ 32$;               is   replaced by {hefdﬂduingg

                       We liq     not [i'mﬁde [jahﬂjrryﬁoy‘ergga fur the angfshjp, mnihz’eniince                                                       nip uis'cl'ni"   {my   ”mmmnhile“:
                       a     ﬂptraled              in;    or
                        b    While    [n       pmmCe qr                preparaﬁgn           far}

                        anvmdng unwed indies regurdlega uf whether such mnteﬂls premmged Dr orgamzéd.
             m.”
                   .   The foaming                 c:clusinn i5 added. tn Section IL:

                       ﬁe d0      not proﬁtﬁe Lle’ilJty                    (1mm age             far the         mmmhlp minimums nr use of any ”snmvmohile"
                       whlie rented or                   1mm! 1n an}          “insuml” ororggminﬁun otherﬂun :mu

                       Tho folfuwing mduﬂon applies underSéctiﬂn                                                 .L Io   am “snammnbﬂc’ fer ﬁlit’h                        [he   "Mlamnons
                       indicates that the passenger hazard 15                                   exdudeﬂ:
                       V46 ida Hotprmadeﬂablhw Cmeﬁge Em"                                         am ”inﬁured" for “bndﬂyinjunr” 10 ‘m‘w perm“ While "otcu
                       pvinﬂ orwhiie being towed by;                                ﬂu:   descnhcd snowmnhiie“
        C.   The Olim- Insurance Prmision                                     ls   replaced 1h}            the: fblluﬁitig:
                                                                                                       '




             mmmsuwcﬁ
             Aﬁy‘iiﬁsgxﬁi‘VBCerﬁjﬁprtrﬁdéshﬂl                              zine   gx‘ce'sis     pifr'm)’nthérrtqllmibfc'inmrf'ancex.

Ill.   Part        B a Medical Payments I'imemge
        P111 B is          :unendtd      as:       Fallinvs-mm respect to                  a‘
                                                                                                ”srmwmnhile“:

       L     Th4: :Eéﬁnlﬂqn           inf      an ”iusuﬂdfmis raphceﬁ                           h}:   Um'ﬁplhjwing:
                                                                                                            '        '




             ‘Tnsfufgii”          mm:
             I.        Ynu or may "Emmy number":

                       3+    \Ihﬂc “cumming“                          M
                       b     A3 a   pedaﬂrm xihm                        struck      bh
                       a    “snowmohm”
                                                                                                                                          "
             2.        Any other pcmtm                    tig'hllc'   “occupying          "mar mimic] mammal)“
       B;    Th1:       Exclnmms 5M0“                           is    Amtmlgd As          Fjilcm':

             l         limitshm      l       dots          mt apply
             2..       Emmi{m 3              '19
                                                    reputed            b} (he     {uﬂmﬁngi

                       1:": d1:   um nruvide Mmﬁcﬂ Pfymcnts Qwemgc far m1! "insured" far                                                               bndily iujun           sustaincd while
                               pﬁng          _a_   "3n0wrtmblie              “her!       iE ‘15   being used             in ﬂmé    "husinam af an “insumP
             W.
                       ‘Exdmtonﬂ.                  is;   replamd b} the fnﬂmvlng

                       Wu (jg: ant prijvjde M&dllea]! Pdgmmm Emu rag: Fur any "ialsuml"                                                        I01“   “imamunjurf’ suminw whim
                                                                                                                                                               ‘




                                                                     "
                       "nccupﬁng"            my          “snmvrnohile

                       a.    0139‘de           in; (1r

                       b     Whﬂe In pmdica or prepmmm for:
                       anyming ur’ ﬁlmed mntes'l regardless                                     0f wheﬂxét’ such contest                  is   prearranged m‘ organized

             4.        The fnlk'mfﬂﬁ           E‘LLlU‘ém} 13 Edda}.

                       We do not     p‘mﬁ‘cﬁ: Medici]
                                                      [$131116an Czwer'age Eur any “insured" fur                                                      “hndﬂv injury           su's’taingd mhil‘L

                       "ncguwlnﬂ 1m} snmvmohih“ whil:                                         r’emue‘!          0r leﬂud     tn?   jam!   0:1,mean m,                   any “insured"    {idler
                       than van.

       {1.   .Thé (1mg: insurance Prmiﬁﬁlau                                 i5    rephged by               thg fnllmvmg:



                                                                                                                16
 USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 27 of 64
            mm mums:
            An} Insurance                   “e prowde 53ml] he («r1253 over any nther mlleujble auto fnxumnce providing
            [rgrmenizs              fo‘r   medical m‘pmses" Dr funeral expenm.

W, Part l3- Uninsured, Mqlurisﬂs ,Cuverage
     Pm       t:       isaxmended           asfbalm                m‘th respect              m     ”sno‘nWbile”:

     AV.    Emmi for                 :1   *‘Snmsmubi[e",
                                                    '
                                                                       a w‘hfde              thperﬂied       0n    rn'ﬂs      Dr timie‘r trmds          i5   nut an ”uninsured
            motor u‘iiiclei
     B.     The fﬁiimﬁing excluwnx ﬁrmddcd I0 Sm tinn B um“: Exdlusiuns                                                                           Sicliun:

            We do              not 'p‘mvide       cmreuge               far “buditge           :[niLiI-F'”   51151de by any                     “insured"; 0r wharf nﬁurded
            “prapuny durum“:
                                                                                                                                                                                   ”
            While.             cumming            :mry‘      'Emuwmabite“ while rented ﬁrieasm Io :u‘ay urgmimniun or zenyﬁinsm'
                                                                                                                                            '
                                                                                                                                                                       '

            o‘iher than 51in;                or
                                                                                  ‘




            Mum's              mmmmf              :myi ”:‘nmvrrlqsbile‘*t

            ﬂ          Opemicd m; Gr
            b While In pruﬁice ﬁr prmaminn fur;
            any man}, m“ ﬁpﬁfd                          L(‘JI‘IIQI‘A   myrmlkm tiFM—hﬁhe                       '51de         Cﬂﬂk‘ﬂ       L5    pmarmngtd      {Ir nr'gaiﬁizeii.

            This        {mifzr       InSHr'mW meﬁon                                   33   mplm‘rﬂl   b3:    ”)0   fnlhj'wing-z

           ‘m‘Hh‘R               INSLRWEE
            Any in’sUmﬁce we                   'prmiélc 51ml]                 he excess over :my mher tdﬂettible insurance;

V.   Part ﬁ— Coverage Fm' Mtge Tn Tour Auto
     Pun I] mended a5 falio'xrs m'lgh respect m a "sﬁhwmohile‘.
                       Es                                                                                                      l




     A. Exclusion 12.1w replaced by                                    r1110.     ﬁlllmting;

            Wu.        veil]   um payfﬂr ims 10 Sang “smmnubﬂu”:
                       a       Operated       1n;       ur
                       b.      While in pm'cﬁc’e or p'r'epumﬁon Fur;

            any racing ur spgcd rontéy regardkﬂ                                              ufwhemerauch corned                          1:;   pmarungc-d     air   urginized

     VB    Thé fullmﬁng emluxinn                              ii   minted 1a thé Exclusions                        Man
           W      {f   will    ﬂat pity for lass           m am; ”'snuwmnbli2e “while: reniecl or leased 10 my_persqn m mgnnimﬂun
           Other lhzln              Wu
     C.    W111h respect                  m the Cmcmﬂtrﬁ}                     shnwn          9:;   apphmhle         n7:      a “anuwumbilt. dmrihed Jn 11m “ﬂec-
           lafaho                ’,lh_'e   Limil Dflinhiltt}                          Pmm‘mn        ls   replaced b3 the               fdﬂmmg
           LIMIT DFHABiL‘mf
                                                                                                                         I




           A.          Our     timit‘uf Habﬂitv for 1min: mlt’ hr:                           me    laser      ‘nfl'he‘:


                       1.      imam shqwn m [he “DeLhmtionx
                       2.      Acinal£11311 vaIue’of lhe stnien ordasmged property qr

                       3.-     Amouninecessurv i0 repair or replace the pmperhr wjih                                                       lather prewar!) of like         kind and
                               qnuﬂm'

                       0m       pﬂmeni fnp{055 ml]                          b4:   reduced by any applicable deductible                                in the   “Lkﬂmuans
                               "‘
                                          mart“ lhﬂﬁ um: ‘*::num1mbil€” nkﬁlﬂﬁ [Emil
                       [fly         m                                                                                         ﬂint.   mum?      “(:ﬂﬂiﬁjnn“    Qrdy'   the highest
                                     1e.   dcducnhle wal-mplv

           E.          An mmismmiu [n'r duprmai {m and phhtus] éondiﬁqn                                                            mill   be made     m dgtemunmg maul
                       méh Him: En i] 12 citim 01f Mat irm‘            :1


           (3‘;        Ii :1   r:?,mir {1r   replacuumt main:                               m bmr Ilwa             [t   kt [d ml      m nullity       mo will um {my        far the
                       mannt nfllm hehcmmni
                       All     nilm pmvisiuus                      nf ﬂais policy apply
      USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 28 of 64

                  i111»
                          03           0‘3 0'4 86':—                     Towmc AND Lama                                         mm comma
This    endorsemem cimges‘ the                                pdliq. Please raid                    it   (Mfuﬂy
Wiﬂ]              [he tmemme pr'mided bx
        r'e'spéct la                                                            this   endowment mepmﬁsiuns of the puiicv appi‘j unleSS [110de
'ﬁé’d
        by me Endorsement»

Wc n11!           pay timing and Inbur                   'ccﬁt:      incurmd Each lime “)ﬁur cmre‘r‘e'd 2mm“                                    many “non mmed mm?" is
mahleé up in the amuunt shown in 111i: ”Declamhtms     appllcabk Io 111‘s! véhicle, lfa "nonsmvncd alum"   .15:



                             breadé‘d ttjwing and 3:]th com cmenlge ﬂpphmble 10 any \ﬂurtmtnti
                                                                                                                                                               '

i5 (ﬁﬁiabléﬂ we will proﬁtfe                         1111':


mu“ shim“ in 1m!                         ’Iledartmmx                 We WI}!         {ml}      pail)     Fm“ ialbur        perfumed   :11   then? aw ofdisablemmt.



   PP D3 0? 01 {)5— ‘I'RAILBIVCAMP-ER EDDY EDYERAGE                                                                                                       (MWMUM
                                                                         LIMIT            ‘01?
                                                                                                       men’)
This cﬁﬂum‘m‘gﬂg                       ,clnimggé;    [héﬁgliuy            Plusétrtﬁtd               it   (ammng,
                              L




mum
The amount                 51mm               in {he      “ﬂeclamnons                          i5   uni netwsaﬂh ﬂie amount )Bu will reccii'e                                m
tin:    limu 0f loss or                    damage             fin"   ﬂu:   dmnhlﬂ propul)                    PLEASE nfcr‘ ID [ha limit ﬂf Liability
l'rmismn M10“?
Wiih réspifcl            H)       1m   mu       ige:   Ijmvided by              thiﬁ   LJILEuN-mmt.                 Ille   pnmsmns UH 1L puiicy apply unlitss muﬂiv
                                                                                                                                            l



had.    IN    mﬂmwmml
              ﬂu”:


  A.     hit the pummwf ﬂu meme prrmdaii                                                  bx:   this     endnmmtm               mummmd mun” mvgns Mimi'iur “
         m"       datum M241
  IL     Ext lusiun 7g cafPart                   D— tlmﬁmge fur Damag‘: Tu Milt Aum clams nompgﬂy {a mwmgc prim                                                            inlet!

         by this         endarseanL
  c      ﬁe mil           pay far         dilréct    tum "'Accidcnml"                  lass      w:
             l.    Aﬂmlhl" orcmm-r budy dwlbed                                              in the        "Dgclmliom”             21nd

         2.        'I‘Jcﬂjﬁaw m’           equipmmldﬁigned iii he Used With 1}“;                                       descrlhied “Miler". pr
                                                                                                                                     tampﬂr Mdv while in
                   oratfachu!             m    the      traﬁct" orltémnpe‘r bad),                          Eucﬂmes or equipment inciude but are not [imiied
                   I0.


                  4f:    ﬂanking              dining; plumbing;                 u'r
                                                                                       Rﬁigemiiﬂn’fatiﬁtigs;
                   b.     Awning Dr cabana; or                                   I




                   L,     Mytﬂmm‘ faulim gr ﬂqmpmvnideﬁgnm!                                                   lo   he 115m wiLh a        "trailer” n'r     mmp'rer bum:

         W12       mll pay fur him {3115M                          b}?

         I.        {Elmer         (th "mllman                  milv 1i the           “Declaramm                    indicates that {hher          Tim {milifzqon    Gmalfage   1s»


         ‘
                   pnmdul far Kim malt                                  or grajmjmr bud}!
         .2.        ‘Cﬂﬂniﬂﬁ'amﬂy iithéf [)denuiuna”                                      mdmw‘s 13m Ldllmon (.m‘erant’                         i2:   pmﬁdﬂﬂ For Iiua'   uniﬂer”

                   0r    (mm hidy                              I            _




  Du     11m       Inlimﬁfing‘cxgmsjﬁmz: nix: adder};

         i.        We wiﬂ          nu: pay      ftir   loss        m;

                   yawning 0r lame};
                   l):    Bs'usims's          nr ofﬁng equhmwm,                       m
                   ca     smidm whim gm mm. Man] aim                                      Hr    listed in         midblliinns

         2         This mverage dogs um apply m fumjshiings m" minimum that 11W. mingled fmm «maniac rundrr
                   Exclusions            ii    5.,     9,;
                                                              n‘r 11)     IJE   Pan D
  E.     WM“(931m: t0 ms‘eragt: under ihls mdmscmmh                                                               the Limit     Df   Liability l'rmﬁsﬁnn u!         Pm     l) is

         rephxmd by                [her   fallcmlng.




                                                                                                    13
          USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 29 of 64
             tum? {1F                mumw
             Ow       limit 15f liability for 11155 will be:              lhclesser 0f the;

             l.-   Amount Shown                    Ln Elm “Declarations           F


             2.    Adm! cash vajuc oﬁhe stphzn or ﬂamaged pmperty; Dr
            .3.    mount muwnl an remix" m twine 1hr pr‘apcm wilh uﬂmr pmp-m}                                                           of like kind anti quaiiw.

Our payment                    ﬁn" loss   mu        be reduced by :uw appiicqhic deductible shown                                in the   ”Declamﬁons“             If I053,

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ﬂammable MI} apply
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the       mm m           :15   Imai    lam
1F   :1   repair      m rvphwmem remhs                      in ha: Her {him like kiInd                 ur   tmnliig,   we will   mu gm}: fur   this.   ‘tm‘uum     sat“
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thltrﬁnmL



                               PP 13            '02 0‘1 30’s           — TRIP INTERRUPHDN CGWRAGE
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had        Irv lhé.    ennEuNmLm!
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WW]         rca‘ped        m a '3‘uur caifert’ﬂ 2:110” shiiwn 1n                       lht‘l'   Diﬂaratimts” {ﬁr Whjdl              mum): pmmium {J:\rgﬂ.
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m umimum
     :1                          lmit
                                El      {sf $6136}    Eur   mmmbl»
             L Tmmmnnn mpmscx imnmx} byytiu                                                En 1hr.         1am    “fa mmimnicllur cimirimﬂ bmkduw'n
                   0f “gumgwﬁrcd anto'                            ‘




             2     Ekpmsaé Incurred hi wu                     [or ludging 51nd meat; In                     thument 13!;
                   :1.     1mm and mammal lam                           Lu:    51cm:   cy'n'ei‘cgl     nun)"     0911an11 hy‘   “milks Wan   m mhw (hm                ml-
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                           lLsian

                   b           M'echmiml or           electrlca]       hrvakdmm          nf     your covered mu)"
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             l.    _The ins; [m              yr”
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             .
                   Hm mike; [mm hbmc; um!
            2.     The ”ydur cuiéted 1min“                   i3       withdrawn Ewan use fur                 at least Iii   hours,

mirr m?                  mam
 1..        Gut pumignt ﬂxr‘i‘np Interruption Euwmge will be iimilcd :0 Bust perm, a1 ofﬂine rmxumht) requireﬁ
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            l.     Remmnmrelundenprearrangcd .iﬁnmn'; or
            2      Baum              flame

 E.         H0 ormmﬂ be Entitled [u receiw dupticaie payments fur the Same. elEmean                                                  0f 3655 under Ihjﬁ 'Cm eruge
            and {Hm D of the puiic}

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            I.     Vehicle           warmnhm
            ’1
                   Alliumohllc cluhb. m"

            3L     Medammﬂ bmkdmm m‘ similar pans”;                                      Dr

 Bi         An}: uthér          warm (pf muwnr appliablﬁh} mp Russ.

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     USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 30 of 64

                                       PP 13 03 01 05 — TRUST ENDORSEMENT
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       endorsemem changes                        tha                  Pleasa reﬂd                  it   (awfullv

With respect       m ﬁle. coverage provided b}                              this       mdorsemt-m                lhepmmmm of the puiiq.“ appiy unlcss modj
ﬁed by ihe EHdomcmenL

     .Deﬁnfﬁpns                                             _




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       h} a person       if    tide 15 tmnsferred to the trusi                                 shim!         m    1hr:    "Declagaﬁons,

 H.    Part F nVGmeral Prmisions

       Pair:   F 15   a'mjciiﬁgd           21$   fqllgmr

       The mnmmg Is” added name;                                 mmmmh p'mrism‘n:
       IF this policy i»               ignmmcd                  native will            :Llsn bl;        m mad m ﬂu:              ﬁrst    named Tum:        gr Trustee 511mm in
       the “Declaranun't




 PP 14 {)2- 10 15- UNDERINSURED MOTORISIS COVERAGE— INDMNR
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       l.     Swaminedb} an"1nsured" :md
       .2.    Cma'zd by Em “amden!

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       Dr use pfihc "nndeliusumd mmmmlude                                                      T
                                                        e will pay ﬂmnages under rthis c(iverage Caused byam
       “Juidtnl” Willi :i'n “*Inzthmnaurvﬂ mulur‘ i‘cﬁidé‘ 0:11}! if l. (Ft 3 balm» applies.

       l.                             Emmy miurv liﬂhiilt) bonds 0r pphdcs aﬁpllmhlﬁ Ii) [hi2 “under
              Thé limits {xi habﬂiw undér m];
              insured :imtor whii'cm” tram. :bt-Ln ethanalnd b}
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       .2.    A 1mm me wmumem has hm mile hemﬂn .in insurtvd” and 111:3 insurv'r of iht: "undmﬁmmﬁ'
              mottt’xt‘sc'iaﬁrle‘ zmcfwc;  ,




             a.    Hm: hm: gum pmmmwrilmn                                              nmicr oflmﬂj themsmtivu                           scnlmm; and ccmﬁcarfun afﬁne
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             [3+   Mullet: [mymmt 19                                  inﬁrm” 1n
                                                                gilt“?!                            an :uumunr            maul          m lhc 11:1le wizltmrnt          '[w
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                   flaw ghen             ,mﬁpt wfauﬁppdﬁuﬂ.
       "Insured" as used iu'mL-{inﬂunémcm                                              moms:
       l.    hm Dr 1;an            '

                                       1731:1111? mcmbrr”;
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       1.    any   athei-     Win                “ncm‘mdng‘                ”x   our cdswémi               .‘L‘utrr' '3
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             [his cmat‘ag-e appliaw suﬁiuhed apcmm described m1. ur E abom 1b;


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       of {he iiﬁms      ufijnbilit}                under :ﬂl bodily] njur}                    liability         buuﬂa or              policies applicable at   llu?   Lime    12E {hc-

       “at: idem”       is   eixhvr:

       l.    i255 than 11w              limit       n1 ﬁabiﬁtyjfnr              this.   (mange;             m
      USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 31 of 64
        .Re'tlured h} payments m perSons, other liun mammals in the “accident" lo less than                                      ,in'gu‘r’ed

                          the limit of liabililyfur [hi5                         cottmge

        Ilowwen underinsured mm'orvehicllz dues nut mclude 21m vehicle or equipment:
        I.                Tu “midi a bodii'
                                          yimunr liabiiitv bond or poliq applies                                              at the.    Ema uf the ‘uccideni hut ﬁs limit
                          f6:     hodin        injury       ﬁahﬂjw is           leaf.    13mm     H111   minimum      limit   EL}: b’ijdily injmliabﬂiw marked h} ihe
                          iinanda}            mwmhlﬁt} km 0F lﬁdiana
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                  x       0mm! by am Lajwcrmumul                                      unit   ur   agm
        .sw-«zbéiw-‘aw



                          Iflwnéd b} or              Fumlshm! ur                asatiﬂblc: ln‘r Elbe nagulnr             1w: aﬁ 5m: us aim?      fﬁnﬂh'    mcmlW’
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       a:                 ’I'n'
                  .               which u buddy injury                         lulbiljty     bond Dr       {191m} implies         :11   ihé time 0E [he *‘atcidenF but me.
                          mmdlng ur' mmnng company:

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                          b       IS Ijr béLﬂ-mé‘n           immunit-

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        l.                While “‘Dccupymg or when struck En; am mmor which awed by you nifbich mi immrud far                                                 Ls

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                          with a        Imihqmmmm miluurk pléufmfin imhﬁm hut gs nmi 1mm} m smy [1mm uflim: a w                   Ii                                            Iii   ch}
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                                  n12!   :1   pmengcr is “occupying"                             ihexfehicle     or a dehxen' assignment has been accepicd ur
                          h       Ehgngcd Em} pmmanged nde                                       m tanspomnun senate, or
                         Tc       mmmg penunx                      a‘ar   pfugxém {uni mugs.
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       11w               lelng                rir   similar Luv

       l.                 Workm willmm aaliw mi
       2                  Dimhht‘s‘henﬁla                   11.1w


En‘    W- 15mm nmﬁdc lindcﬁmurm                                                       Maturish‘        Caﬁemgé fur pnnjiiw ur excmplm dmnugm
um 1T0? L‘mmjm
A;     Th4:               Um]Jle IjulHliit? 9 hmx’lniithd:
                                                      n    “Dmmaﬂans” fur each pi: mm furl ndcrimnrm Hummus (Imr-
       age                isuur mxilmim iimji nf [iabllm fur all mums, indudi1:13; damagm: [0r        loss n'f amimp                                 cm
       n‘r               data],     51:]: Eng       nut af' 'hpdjh 1:1qu                         summed iwanynne pawn In anyune “accident" Subjm
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       deﬂnsm’t’d Mdto‘nsts                                 {mam}; as uu‘r maximum iimit u! liabilily for ail damages                                      [01     “’bndllvlnjuq"
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       ‘Ihjs              m the most “mill Wregzrﬁless u! the number HI:
       l.                '“in‘éurﬁﬂk’j’

      2                  LLu‘nu made;

       3                 Vﬂﬁdcwr premmmxwhnwninIltc‘ikcbrmm gm
       ii.               Whidea inmlvﬂd                     m the ”amiﬂﬂnl

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        USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 32 of 64
      ﬂ.    The        limit of lLIhilinshﬂJl hue                                reduced by           :11]      sums pajd because               ofil'le    *%otlilvinju¢’ bv or an behalf
            uf pe'mm ur                       cmanwuonw who may                                     b4:   legﬁﬂ} rﬁpunsihie This includes                             all    Sums patd under Fm
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            hm lawn maﬁa [w m- an behalf of pmans Gr organimﬂdm‘ Mm nu}: bc legally respimslbzé
      E.    We will nm make payment under this (mange fur anxrdcmeni at loss II a person his rec_élwd 0r
            is emill'ﬁd tomcamz [amnmf [qr the same element 0f hm under my of the Euﬂn‘wing or Similar iztw:


            1-.        Workers             mammalian Lamar
            “l.        ﬁlﬂhjlm’bcndiulaw

BTHER INSURANCE
IE-   ﬂmre‘       is   ether Applicablejmurmce gvzrﬂahle under um: or                                                                 mart policies or prm'isluns                     uf cm‘erage {hm
is    similar          [q lhe‘       manure prnnded under 13115 Endorsement aha foﬂmiqﬁ" primiﬁes n‘f rec‘ovﬁry apply:

  Firsﬁ                         11m,       Undumjsumi                       Mnhmribls Cmerﬂge Jpphubie t0 the                                   ‘r’dticié 1hr.      "insured” was Mﬂupging
                                      lhlz lime i}? zh’a                     .ndﬂem"

  ‘Sgcolnd                      Any miter 111inicy                     afﬁmilnlg               Lindaﬁnwngd                 Mwmsb“ ﬂaming? its Inc “insured”,
                                                                                                                                 'im‘umd”                                      "
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                       [he ﬁrst pﬁuriw,                        55.111 hrs:             be ﬁlmauatcd and

            1.         The maximum rem'per} far dumgc-s undgrulj pull{jag                                                                 D'r   prm‘isinm nfcmrergige                   mar :quzﬁl   hut
                       shall niji          exceed          lh'g,
                                                                       mghest apphc‘ﬂbie                        limit fur        my    one vehiLle underm} insu'rmge phmdj‘ng
                       towrngt' on either a ﬁrst                                      m secund            p’rioﬁty        ham
            3.     ‘W‘cmll pay orﬂ}                        uur share dfl‘he                        i055     Qur share            Is   ihc proportion 13ml nurlimji Ufliabiiit}                  bran
                       m     IMP. M1131 (II gt“ Hnails                      dpﬁimhk 11)                   U712-   51mm      [€593     0f priDﬁrs‘

ARBITRATIQN
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      9..   Kw} and                  {m                                     run ngrw:

             l         Whemcr lhai' unwed                                        i5   leglllvmttﬂed lo recover damagem ﬁr
            >2.        As:    lc-    the   mm‘m'm              uf. (Lxmagm                   which are            rwnmbk by 13ml ”imurisd”;
            {mm          ihé        mmr or npmmruf m1                                         undennxured nmmrwiudv“ thén 11m nmmrm‘tv he arlutmud
            HuWBver dispum: mlmrﬂjm, cm‘LﬂgG undcr {hi5 enduﬁemunl                                                                                 mm i101 1w Arbilmlmi
            BQIh fcafﬂéﬁ' mtISX                           ng‘w         it}       ar’hilnnwu               If.   50 agreed "wi’h            p.111?   Wiﬂ         Mm an                       Tm; lm'
                                                                                                                                                                                   Arhiltmm‘.
            .Irhxtriton.              mil scléci a                   aiiin'l          II    Iheﬁ   mu): 113er               wirh’jn'     30Mars] either mm?                    mjmt     Hun saéclﬁm
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            1.         Pit}    nhe     mpmwa»                  ij:   inelin;           aim
            .3.        Bear the cxpcmcs.                         m thé mini arbitrmr mama“
  43.       llrﬁcﬁs           hath         1min 3ng                         bl 13min:               aiﬁfmliun Mil take place                       ml     113:;    manly m w tllch :111:5 Numuc!
            lmurcd              Ii  1m        :15   Shawn            (:11   Elie       “Dmtlamtions” {null rules- of law                            :13    Io     pmmdltre and evidence will
            1mm} a {lemma          agmd m by least Wm oi minii‘trauurs will be bindingzit                         155:;                                                  :13   19:


            19         thalwr the Emmi“ iﬁlmﬁly writicti m ream: mwgcs'; and
            v2.


ADDITIONAL DUTIES
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                       Emits oi            [11:3    owner Dr nperatur nflhe "undufnsured motor ichidc“; mud


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      USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 33 of 64
       3. Allow us 3E} rim lo admcg pament m that insurad" in :u1 amount equal w lhe tentameselﬂe
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                  mm: ta                  pregame our                 right; against the .Lnaurer                    mmerur opemwr 0f {he “undermmired motor
                  Which"



  PP D4 69 10 .15— UNINSUREB MUFGRISTS {JOVERAGE— INDIANA
This endorsement chunges the 901k}: Please rand                                                         i1   carefully

Partﬁ- Uninsured                                    Moiurisits Coverage                    :5    replaced           I11;   ihe    full   ﬁﬁﬂg
Insulting          Agreement
 :L    We ml] pa)                     cumpensutur}                    dmges which an "Inmred" Is legally                                           entitled lo       recover [mm           thy?     owner
       ﬁr operator .ofan uninsured mhlur; vehide because                                                                    of.

                                                                                                                                                                 "
            .“Bodjly injury“ snslained 11', an ”insumd" and caused by an Tacciden                                                                                     and
                  “Pmputulmm        musiﬁ h) 2m Itmdmll” ifthé ”[mljﬂr inns” mdmlmhal ham brjdil} iniurj}
                  and pmmrﬁ; dialling: Unlﬁmmd Mulonals Lima”. applm Hweau, whim l‘iﬂth hﬂdilg‘ mjzi‘r}
                  51nd pmpt'rty (Emmy   [Linsurcd Muludah l3I)$‘Lr'1;;c is :‘llfﬂnkd Pambfth 5htrflhf3! dcﬁnitiwn

                  0f “uni insured                    mam which!                   mnccrning an unidmuhed                                  hii:      and run which: Ml} not                        51121.11?   m
                  “p; "(inﬁrm                  dmugc
       Th1:        mum's {xr operator                            ~:
                                                                      hahﬂiw fur mm: tuning:                               mm: misc ﬂu;                 tr)“
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       {jr [15E {3f mine                  “uninsured nmiurmhlclu”

       Am! indgnumt {Gr timnagez»                                      grinding   nut      41f   :1   suit      hnmght wiﬁmui our wﬁﬂcn mum}:                                       {s   [1:31;   binding
       {m        Iii

       “Dimj nuiinn                       Ln   value"      {Ls   used      in ihls        endowment mans; the actual 0r                                         perceived [um Jn markri                       nl’

       mule muej whii'h                               mum             from a threat ind “accidental                           ‘"
                                                                                                                                   lass
       "Inmred                      :15   used       in this      ihm mains:

       l.        Yul!      qr        my '“fmnllv manher”:H                        4.
       Z.         AH} other person                      mmjaﬁug jmur muired gum": ur
       5.        Any person for                       damagﬁ ﬂint pcmn i5 Enﬁlled lo reenter                                                  because           0f“bodilg.r miuq’r            lo     which
                 Ihis      mxmw                     apphcs smaincd                 11:.   a pemm             6991111196 an l                  m        2‘   :ahmc
       “Pmpctq.                     image“            m;   um! m           this   mdorseme’ni means injury                                m ur desmmion DE
       l_        “tom"              cm cred anﬂur                 or
       L.    .

                 m1}      pmpéﬁ, aimed         1'
                                                             In a       pcmnTNvﬁ In h Qr’ 2                                tJP‘in'Surcd“ while                  mnuiﬂtd        In   ”four Lewr'ud
                 altus’         .




       Iiawcwen “‘prgpeﬂy ﬁamage“                                        sirﬂ] rm: zinciludé                 km. mute. 'ﬂf imaged u: danmym prawn;

 E:    “L"niiisured                   mowr vehicle" nmus                          it   land minim” vehidu                    m miter of any                     nape;
                                                                                                                                                   "
       l.         ['9    whith m) fiabIEW hand {Pr 901K =1l11pljm .I] IhL‘ limgéﬁf this lumen!
       22;       5T0     width ,1 Hakim} Exmd ﬁr pbh’q’f {ippﬂes   [ha time‘ Unﬁt? “JLLMEM‘H             .‘ll
                                                                                                                                                                     II}   utis ”Cage 1:3 [lm‘n fur

                 lalbilﬂy            m lisi telw:            lhan lhe         minimum                 limit for! iﬂbilil}            ﬁpecihed by ﬁle ﬁmlimizil rtmmul‘uhlv
                 MW       1:1,!     mdimd»
       55 Wx‘ich With                           MM}; m
                                amiggts for" [16mm injury“ uni}.                                                                         is   :1   hiii- and-ruu uithltﬁie          Mum Wm
           or upmrmr cannot be identiﬁed a'n'd which hits:

                 1a.      Tun qr Anvﬁamily membcr";
                 b.       A whldé which                     10:1       m" 31m "hm‘ily member"                          is‘   ‘utcupying":                   m
                 c.       “Yum catered auto
       ?5        "rl‘n
                         whth 1%qu bond ctr pﬁiiqrapplltﬁ m the lime nf the “latcldem‘y hut ﬂu: bonding 0r [n'surs
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                 mg ccmpmra
                 a.      Denies tu‘umgeg-Dr
                 h,       ls.       m“,   becomes IiJlsoh'enl zmhin twn                           gem dfthe date «j! the                               ffuccidmt’i

       llnw'eves; ”unjnsu‘fed mnto'r Ve‘ht‘de"                                         ﬂees not          inciude.           any wiﬂﬂe‘ur equipment:


                                                                                                       v23
     USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 34 of 64
      l. Owned ornptmted hm Selfansurer under :mv appiimble muiurv'ehicie law, swap: a
                                                                                       5ch msumr
                   which       ls   or befomeis insolvent
            2.     Owed            b3.   any      mmmem!                  um‘t     orimwicyrwlnle being used                                1:1   an .uulwn‘md nnmmu';
            5      Ownt'd b} urflinluhed                       13f     mullﬂhli'         {91‘ 11191      raadur              (150.01”   31m ur Amt “family mi'mher";
            4.     01x   mﬂd hm mﬁs (tr crawltr [Mia
            5; Dcxdbnmi agﬁtinl}                      for use :in puhltc              mad};            while; rm:            um gm      jih: nsudrz;      9r
           6. While locales!                   ﬁfir   13mm: 1L fcisiidcnce                  {1r   premise;

'Eﬂiﬁiuﬁiam

 Au         we {10 mil primate 1 in Mimi Mum                                    131's. t.   rwemge {01* ”pngm'rrh' {Luiwgﬁ‘ 4:: “hum                                       5;
                                                                                                                                                                                injury“ sustained

           by     anyﬁrmuml”:
            1..   Willa            (mummy                ur   when struck kw any nium'r Mulch: {jxmed                                             b;     Wu which m um insuritl fur
                  [his   cm emgé             under ﬂlis Fancy This includes                                  :1   Inﬁlm unﬁt} type uséd M111                          Lhai           which-
           2;     11:81:41    “irimred” orlhe legnt                     wprewnmxtw stalk? the budﬂy                                        injury" nr“pmpizrt}r                      dmnagf‘ 'clnlm
                  land   such Settlement preﬁudlces                             n'lir    right           mmrer paym‘em
                                                                                                       la.

            3.    When “war covered mun"                                 ls     rented hr               {mm} m amars. suhi act man tondmum]                                                   sale mjr
                  ptirdme ahret'mml                           m ﬁle ”Dix? aralmm mud} as jiuhlic Gr 111M}
                                                             ﬁn! kj‘ith-Ldﬂf                desmbt‘d                                                                            :1


                  uanzmce being used m mnnemun with lmmpumhun nmwmk phtﬁarm Being used m
                                           n:nr                                                              :1


                  wmmmm MEI; mawrutiw wwurh Mums indudcs: hm mm ”Initial lo gm; Inarimj 0f
                                                   :1                                                                                              ‘13
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                  iimré a \ﬂnich: is hiring ISM M Any inwmi Mm!                                                        15':


                  "a.    Logged an                m a *‘TNFs'" mﬁiné enabled application er dipul network as admin, “hath“ ar
                         nnt a passenger                 E fuccupying'                  the vclﬂde or                   :1   déihierymstgnmmt has been accepied; or
                  b      Hugged             Ln    aprwmged                     ri‘dc-m       Hmmmuun smite; m-
                  c      (mnirig persons or propedy {uni dmrge
                                                                       n'o‘t
                  This Eatﬂusiun (2L3                    ]   docs              app};        ['0
                                                                                                  :1   share [he etpenxe ‘ci‘zr p00]
                                                                                                                        “
           1L     hing        :1   whicle tﬁléanm a               mwnﬂhlc hﬁicfﬂiﬂl lhsll                         mfmrt    is entiﬁod                          {L3   {lo    50 This      wchmm
                  (AA     3 dcx'sg         rim gppiy          m   .L   ‘hmﬂvmemhw usim; war {mtered auto” which Is ennui}                                                                     m 3m.
           'Hliscm'emgc                  317:)“   m)! apply ﬂimnﬂy                 {Ir      indinﬂly m                 benLﬂlt:

            i,    M11: insn‘r'ef'ar s.élf-insurer-tmdcvram                                   0f Mm {aiming m" ﬁattﬂar law:                                 -




                  g.     kaerx mmpummm                                  law hr
                                                                           '




                  [1+    DNEIIH} [wnﬂnxlm


 {L Wt;I

              <19) ii“: prunde Unins'n mt]                         Mmrm
                                                       ummge fur punitive 9r mempﬂm {1.2mm
 13a       W" (ls) [ml [armada ”prﬂpwrtv (Lirikl‘tﬂ Uninsured Munmatn Cxﬁu‘uge for kiss 10' "your (mutt! 3mm”
           due lo ﬁ‘dilmiautmn                    in mini,“

Limit 0f Lubihty

 A         The                              Shaw iﬁ [ht m ﬂue "DLL‘LthﬁDm fur each [KW‘ nil}? Unlnmwd
                   [imil DI Bodil} iniuﬁ‘ [iilhitihf

            Mumrm mqwhwia mu“ nmlmum ﬂm‘u m‘ Hahn] ity 31E Llamw Endmﬂmg (Lumps fur me;- [n55                     fﬁr‘

           'ufsem‘itc's 0r dram mdsmg but nﬂbagidi lyinlun" sumin‘ed
                                                                     hyag} uncpcrwn in mow: 44.6de                                                                                                   p



           .mhiect to mislinﬁt for em]:                        pcmm            11w;   limit       ofﬁndﬂgrlnjury Liability                        mun in the                    Declarations for
           Each “accident" fur Uninsured Mulcrrm; [jumerﬂge                                                       Ls   ,uur    mﬂmun’t iirr'ﬂt nflishilitv fur ﬁll (images
           {or "bodily injury"                    remlﬁng         [mm any one                ”nrudent‘ Thé                      hmﬁ n! Propem Danmge Liability shosm
           in the       “Dechtions‘                   [cit   Bath "accident fﬁrf
                                                                               Uninsurt‘d                                      Matorisds {momma Is om maximum limit
           ofhﬂlbilltv fnriﬂl                property ﬂmage" IESuEﬁng from                                         myona “accident
           This    I5   [he    muxmewiﬂ pay rwﬁiess of the numhnr oi:
           1-     ”‘inéufedﬁ‘*3

           2      CL'lims      made:
                  ‘Mudraa at              nwmmmx ﬁninwn an 11w “thmuiuns”; nr
           4      Which: imﬁhmd                     m Elm         uuﬁdLnl".
          USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 35 of 64
               The        erm'l nfh'nhijity shall                  be        nzdu'ce‘d ha         111]   sums paid because 0! (ht:                      *‘hodilv injury" ur ”prope'ri}

               damage              11y    Or un behalf 9f perésﬁns Dr                         urgmuﬂmm Mm my he legally! rt‘ﬁponsible.                                            This includes
               :ﬂl   sums paid                undt-r 92:1         A 0f Ibis polity.
               Ni: lane will 1n: ﬂililmi lo                       tamednpllwwmmlmh furthe same elmnents “rims undef IIU‘SLmErm.’
               mid:

               l         Pm a qr Pm                   l1   0f this pol icy; or
               2; Myl xthﬁnmn Mamﬁsls Cowman pmiidml 11y this piﬁiw
                                                           Ll


               W- will 1m make a dulﬁicuig payment under this mnmﬁL fur any denmn'i 0f [ass for Ml? $11 pavrm‘m
                   [kw amide nrcm M11! inﬂame r}: mama: nus Mm may 1m legallv muonﬁiizlu,
               11:15:                          his!                               {1f

           'WL wilt
                                 mt mqke'         pammnmnder                            mi; cmcﬁige fur unyeicﬁwm n! [n53                               if
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                                                                                                                                                                  person has fetched 0r 1:1
               mﬁﬁed i0 receive                       pﬂﬁmﬂnl fur the snmt dammt uf                                   1055     under any 0f this [uiluwing ur similar law:

               1         Warkers              cummsnﬂnn law                         12':


               2.        Dmbhlybeneﬁmilm
     F.    No payment                     will   be minis fnr                Ins:       {mi or mmbje                m the      "insurﬁd‘ under                    Pm D BE [he poll w
Dﬂnerlnsutance
IE   ihurg          Is   nﬂmr appliuhle. lrriumce nvaﬂzblcnnder om:                                                   nr   mare mlicl es 5r provisions nicmenage                              that
is   similm {a              thelmumw provided under misP'Wm gf Lhé 'p'tﬂicyg mefallcmmg primidb of recijwq npiplv;

 First                           "Hm          Umnmmﬁ              Mntonda Lmemge                         apphcahltk        m me vehicle 41w “insured” was rmcupﬁng
                                                                    "
                                  at   [he lime u!              ﬂu; .zmdml”

 Secn‘nd                         Any mhur policy                  affortﬁnﬁ'             Hammad Mohmblxmsm ﬁe m                                     the “insured“

                         T114:   limlmf luhﬂﬂyappllcahlc Iuﬂm                                     vﬂlﬁcle: ﬂit!"
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                                                                                                                          lama!“ was:             13::Qupping'‘,          Inulycr'shrimmym
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                         [he Fist pﬂarin' aim] ﬁrst                           he?       mdaaL‘Med

           Ba Tm:                mﬁmmn rdmcry far dmimgrs under                                               all   Imtlgiiss    m prfﬁrlst um tjfcqwt: rage nmymua! lam
                         :ﬁlziﬂ   nut exceed the highbt appliclhh‘. 33ml:                                      ﬁn r   any      um vehicle under :m} insurmce pmvidjng
           .
                         cmeﬁlge m1 either a ﬁnl {Jr Strand priority b&sis,                                                V




               §         Baywill       pit) lull)          ﬂurﬁhﬁmafﬁw                     lass    Uuréhnre           is   the pmpuﬁn‘on 11ml unrlimji ufimbilu} bears
                         [a the Ema} nl'          uﬂ       limits ,lppiimbie                m the        sir‘m'e    law! of priogjty.

miin-ﬁiion

 A.        1;?le           and 1m ”insurcﬁ”:do nnlngme:

               1.        whether          that ”irimrad“                15   legallvmnﬂed Io remver damages; Dr
           2.        As tn        the. amount              of dumugés which are recovcmble b} 11ml “insured“;

           from the owner or upﬂnmr of an “uninsured motor whicle",                                                                         lhe‘n   the mutter            may he mhitmted
           However, dlsputes cancemirlg                                       maemge under ibis Paﬂ may                                  up: he   afﬁrmed
           Bulk parties must agr‘ea                               Iii   arbitration If              so agmed e.tLh party                     will select               an mhitmmr.     This   two
          riirjhilmturs will 3316c!                         aﬂﬁ‘rﬂ           [I   [hey     mnmsi         .igrm:     mlhin           Maw
                                                                                                                                it’ll)          €1th          I'M}!    requesnhm      VL‘SLCUQIL
          'Ihe       made by             :L   iwﬁgé    4:1! uj   mun hsm‘ng mnamuann
           Each parly                  vii“.


           I.           Pay 11m mpenws                     i!   incurs;       and
           z         mar the expemes‘ ui tlm-Dii‘rd aﬂpilrgtnr mmﬂly
 {L        Liniess built                 mmies         agree caiimnsﬁse, :Lrbilrzumu mil take place                                         m   lite.   mmity          m With ﬂue "Nnmud
           Insured”               Um, as Shim:                    0n ihu lhﬂlrdumlﬁ bum] tum: pi 14w as                                           lo    Jinme‘dnm          .mcﬁ   m'fdmw mil
          21pm}.            A    dc’qjariem      ramml           m   by at hast tm)                i)!   15m urlﬁn‘aﬂm Will be                    M[mung m1 m
           I.           Mwﬂ‘mr Elle ”lumen!“                                          rmwcr danmcs; and
                                                                     E3 legally miitlctt 1:)

           2         le ammunt                  (sf   durmgcs           whim arc mm: under this. muggy; pan




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        USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 36 of 64
                      ENDORSEMENT 10 0'2 16 — VALET
I’Lp'plies     uni} lo Persdnal Automobile Pulicy                                PP UU Di            (l    OS) issued       b).       the United          Emu     Famihr Mutual
lnsurﬂnca         compam               or ihe UH!- Laxuulty lnwmuct: Campnny

The. [olimx‘wg             changes Jpply                 t0   coveraqg [0r       "3mm covered               auiu     listed       cm       Lhe    "ﬂtclimﬁonf            1a subject
10'
       Ulis   Endurwum’nl

VEHiELE           REHALTMENT LOST ﬂN NEW AUTOS
The following               pmnsmn is added to PART D w (KWERMJE PQH DML’LGE TU WUUR AUTO LIMIT
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                                                                                                                                                                                  {0E
LIMSIHT‘I             [I    REPLACEMEW 9F NEW MITUIS:
With     ﬂayed ti) 1055 tamed under PART ﬂ,’ miimm                                                    r"‘:‘:l]1e'r   ﬂlﬁn'ébliﬁsian“ irmjém'gieg
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                                                                                                                                                                  Our UhilTﬂF
IJAEIUT‘L‘ will             he      HIE.    {allowing

If"    ‘wir rum            emerm sum"                   mmim a              replmmem aim (if lhé mar: mku
                                                                         taut lass         ﬁfe will        pgw [13'1“ a
model 1mm              imil     equipment     comm! nun)": provided Hm 10x 9mm mmjn 1 2 mctnths 0r me.
                                                        11S   “your
purchagu 0f             “Tour cmcrmi gum" or Marc ihc (alamr-tcr nu ﬂu; whicl‘c reqtk liﬁm} milcg

Our      limit   ul     liability fur 1:335 wilt                he mu:     rcpiacemem max"                      'Heplacummt cdsi‘                        mama     11w.   ms:   sat,   an
suit” nf tin:         «3:111:43:-



          .LMakﬂ
          .L

          h.     ‘Fefghldn size 41nd               chm; :md
          1n     Bud}: min: anti ecjlmpnmn'i;                                                                                     ‘




5L3:   ??ywmr   coverﬁd aim)” ur Elm must simﬂnr Ihercxo,                                   if   2m   emu mpiacemcm is mat lutmlbic.
WE REQER‘I’IE THE RIGHT 'IG'TRJZPIACE "YOUR COVERED AUTG‘ OP. T0 PAY ’1]                                                                        ll}.   LOSS [N   MQMY.
ABDIDGNMJHTINITIQME:
“BTW"         Jinw‘fus‘ :ﬂm "‘yqznir gfovgikjcii               mm)” whh      73m.) miles:            m“ 1m; on       min:   mltm’zemr 0n                 111E (lulu   mu bccmms
!hc     Wm
"fond trig“            31113;];st     “ma:    we 31m dtsz'crmmcd      Js Mlmnumﬂy11,3311                                 impractical              m     rtlmir [he wrct [ml           win“


mmagcd            ‘30:.    r cml‘crud         gum“ {allwhzn 3 mwcrtfﬂd {rm

Aﬂﬂlﬂﬂ‘lgﬂ. B(Fll                     SUN
TRIS     mdnmsim-m dam mat 2141911.                             m 103$ m    .1   f‘imm     (mm mm)"                  a   amumraw substitute                      mm or m “mu:                 v




mm“; 3mm" thin                       \siug-   um   “iicw”       when purdjmd
                                                    ’

 Theicrm "3:311:13 cab}: 5.11m:                         in    MRI I) MPMISAL is replaced 1w                              rcplamnmt rust” far claims {making
.ﬂlié “REPLEEE‘JEVT {OF YEW                             M303“
This     wmm               applir      s'
                                            only   Mum am “mm comm!                        21m;       is   immd ﬁr PARI D                          ’cqllisim“ nr “‘nﬁmr [Jun
wmsﬂm“ cm‘mge
Hm AT mm 15min
We wit] 1am apply               :1
                                     no’t   m £11m chlm m 2m undelwriﬁng‘
                                                                   Elam at mur pulicy renewal regmdless ufwhether
reimbursement                 [mm 1h;- mt huh insumnc»: gm] er lug been recehred.
LOSS OF USE FDR RENTAL VEHICLES AND                                                 CDLUSIDMDSS DAMAGE WAIVER
In ih‘e       meal of a        comma           '“chLisIon lass" .10         .m "5min- minted                  1mm         which           i5   rented    £mm     a :Lnul agency
we will reimburse                    3cm any deductible. charged h} that rams] agency                                       The           rental vehicle m‘ust qualif; m.               {‘1




"non      mmed 315m” or iemppmw suhaﬁtute auto unﬁcr ﬁn. terms {ii 111:: policy In    midlﬁm we Wm prmide
rmmburaemenl pi                         dmumentcd charge mwd under fthé terms 0f the maul ﬂgreemeﬁt [or 105.5
                                     any"   Valii
of USE gmtb’mﬁ             .Ldrmmstnm‘e £ng regulﬁng fmm “common damage accurring while the rental which: is
in ycjur       pdawssion 5r 131ml                       1m
Laweﬁgv          as   liming! rm (me. xtﬂiide rents! per                     mmr'mite;
                  mﬂv when ”your caver'ed uu’m"
This cdxcmge applies                                                                            I3   {named fur ”1:th Khan                        6011555011“    :md' mlllsmn”
www.ge: wider PART I)



                                                                                           ”36
        USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 37 of 64
EW’HA '[WSPDWI’ATIUN EXPENSES EDVERAGE AND INCREASED DEATH BENEFIT
Wiih      Imwcl Eu ‘Irdnﬁmﬁmim Expensa (‘mmﬂge premix! In Fiﬁ D wmﬁll Itimhnrse                                                                             yml up   m $33 m}
pﬂrﬂa}          limit, linlt’hﬁ                u higher limit     is»    shown    m    1th “Duhlraﬁqms"               [n   afummnw Wm! 11m ldﬂgmw                         DIP?
031.12    017mm ”mils Transplmdllon mearea {hﬁgm‘gﬁ
m5 Uj'fmgé ﬂﬂpfie’s Huh                                    “'th   :In     Mr émﬁrml aura"                i5   insured far              what       than canision“       aww
“COIUSIUH” Lfis‘cmgcs

PART    MLDIFM, PA? MFW‘. COKE MGR h; :mmndcd m [name lint: in ﬂu: amt of your dram: m” chm of
           l!


a   ”Emmy nmsalwr    m a mvm-tl “qadduu M. wiil pay aw drank 11ml"): an :Imcnmt mum m Ihc limit wt
liahliilysmwn I'm,- Medial 9.1}anth chmgn rm the “Dalmtlons” mdum! by 342mm pmﬁmrslv mint
under} ART B MedJéal Paymenis furetpcmL-s arisingGut bf ihe "acumen? resulting!ideath
                                                                               n      plus $16 0110

This cuv‘emge' applies in‘gm’: p(ﬂjcius mhich carry                                       PART Bi Medlmﬂ Fitment); Cnmmge.

mm mgamimm mamas
Imlzmﬁ- AGREEMEM'
WT]? 11mm“       a “Wilhiff'hﬁ ed aim)" shim} m ﬂu' [lhlmtﬂlmf Trip Inicifupﬂpn lirﬂ’ﬁtilgciﬁ :ﬁTt‘rrt‘ch
                          Li]


W2 will pay; 1511114351: apphmﬁm uf u ﬁeﬁucﬂhleﬂup lo a mminuun Limll 9f ﬁlm} Ear mmmblu
           i        Trmpom;tint) :3mewa inmrmi
                                                       gum
                                                                                  mm       in   till;   mm! of a magma cal ur ciectﬁul brmkdm
                    tzf f‘w’ur mi’vér
                                    red
          2         menses inLurLed by 1.021 I'm                          lodging and meats             1n the   event       of:

                    :1.   Direct and "acudmui’                            lass   1:»   “gnur rnvércd          m_trif’   caused by               cu’llisjon'    ur nthm‘   ﬂmn
                           “ceiih‘éksn‘ﬁE            t);


                      “Mechzmimﬂ                     01*   écctric‘ai     bmikdown        DE    1mm cuwred mm"                     .




This      tmernge           applies only              if:



           l,       The Ems Em mr                    mammal ur ductt‘fm] brmkﬂow uf                                   ”gum- Emmet!              1mm     accurs molt than
                    UH)     miies‘            [ram hdme; 11ml
          Ii The your cowred 1mm" imﬁihdmwn [mm                                                 use'fﬂrﬂt least            ‘Zﬁi
                                                                                                                                  hours.
                                      ’   '


11-3111“        0F LIABILI T Y
    A.~   Dar piivuieni‘fdr’fliﬁliﬁbmipliqn;ﬂm'umge 11611                                       he'iim'iltﬁd    tu’   thin period nfgj‘me‘rtaisqngbhryéqmréﬁ
                                                                                                                                                        ‘




          m:

          l.        Resume WWI under'a preaminged thncmn' or
          .3        Baum home
    B.    Nu {me win he. eﬂﬁiltdm nu'n dnnhuie paymmls ft’il‘lht’: same eh'mt‘an Uflmis llndér‘ {his imumge
                                                                    E.



          and I’m               D   r117      Lhé   puma
{H'HER SUURﬂEb                                {1F   EECGVER‘?
M; inwmme                       ﬁe pmﬁde              with rbp-scl        w hip lntm‘ruplmn Lrn'erdy; 311:1“                           bi;-   03:13:58 miétr   any nﬂlsr Cui-
legible         mum             inf       mum mdudm hm nulhmuul m:
    A     Am! («Mirage                        pnmded by:
          I         '99de warming,
          -.    ,
                    Auiumobﬂe 11mm nr
          5.        Muhmiml brmkiluwmmaimﬂarmm                                             0r

    B,    Anwuhwmrrwufrtmvé                                       .tpgalublelnlhuhm

With reapfm t0 ﬂu“ courage provided by this endorsement                                                                 all utlnrr            prfmsiuns 0f 1hr, pdlif}           -




apply 1:111:55 méiiiﬁéd by ﬂit: Endowment
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           Tharﬁz"
             -
                ._-n.-




                               i5???ri'i'lFEHIQ'I-léils'lﬁﬁll'I-‘Eiffi-
                                                                  ~_'_I
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                              Personal Auto
                              Policy
                              United Farm Family Mutual
                              Insurance       Cnmpany

                              UFB   Casualty Insurance      Company

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            INDIANA        FARM           ‘




            BUREAU INSURANCE’
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USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 42 of 64
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                           USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 43 of 64
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PART D ~— EOVERAGE Hm DAMAGE 1‘0
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          USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 44 of 64
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       USDC   IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 45 of 64
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      Sidecﬁr 1mg}                Lgft.
           USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 46 of 64
      _
                           PART A - LIABILITY COVERAGE
INSUIHHG AGREEMENT
  A.      We will {131.3          czmzipmsqLUQ' damagésigr                               "bcﬁdjljsinjugyf‘           or “pro'mrty damage.“ tar whiqh                     ,a‘ny   “insured"      be,-

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          4.        Fur §er 3311:}: {it'i‘lrme,r"-, othgiiiluinjrnur cg’rivgfr‘gijanto", :iuy «mm: per’sqn Qt qryﬁiﬂum ‘bul, dnlywilh
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          l.       HRH) ﬁﬁﬂfqr the gag pfﬁi’ﬁl bonds ,rcquitcd‘ )bi'ﬁaqSe of 311‘ *‘ncciﬂcnt"3 including relaxed mfﬁc la}?
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          2.:      Hriﬂiuftjggigﬁlgpmzal bandki ant] huﬁtls‘                                   m relejsa myaphmnﬁls many squirm: .gicframL
          3*       lnmﬁt accruigig mm                       atiiuggmrint            is   enmrhi miagyrmitwe'dlcfeddA Our dulym {nay hjtmsr                                            emu     mm
               i
                   wt: Qﬁmcgngy'mgt part iﬁEJEm jxjiglgmmi ss'hgch dqcsmi (7mm gaur limit nf‘ligbility far tbig m_s'mlgc,
          Sh       {Jpn}; $201} :1 ﬁayfar Inciss hf mmng’ﬁ, bill [3th oﬂlér 'ln‘ﬁnme, befaégsé Gf‘iﬂéﬂdﬂnﬁc 53! halting? 9i truth

                   atom ream]               .




          5.       {Ma’er‘reasmlilhlie‘ewpe'ﬁsa incurred                                 :Lt   dm-    r‘equeﬁi.


The_se‘   pgme‘ms “ﬁll              nfﬂl    §I§dﬂtﬂith§ihl}it QB iaib'ility.

mmsmﬁ‘
 gt       We d9 mt {amide .ﬂahﬂi’iyﬁmmge far m}, ._4m5ur.eti“:
          L Wm [nlenlianally'cdngrzs thﬂilyjniuqr" qr~'*pmpmy dmngg’".
            Elm: ”pmpgrlydamage m pmpgﬁy Qli'ncdnr Ming transported. by amt ”inrgurﬂcf‘".
                             "pmp‘ﬁi‘q' dumg'ge”                ii”)
                   Fur.                                                property?

                   a.      chiﬁd m;
                   h.      med b3: o:            7




                   c.
                           Inn]: gaze bl;

                   that,     ”imsyﬂﬂ”.

                   This Exclusion {A.‘SJ duet: nolapply to                                     "pwpeﬁydmnugﬂ to a residence                                pr   prime gmge‘
          4;       Far ”hhillh'ilﬁﬂg‘                 wan fm‘pligyge DFﬂwt “insured? duringﬁm n'iu’rse aftmpioyment This Excluﬁitm
                   ($.43 dmln‘pgapgly‘iq "hodify Iniury“ t_cr :1 dammit impinge. unlm wnrkem‘ tompmsution, bencﬁls
                   are. twinned at amimhje Inr'aiuu darmﬂuempioyee.




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      USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 47 of 64
      '3‘     Fur ihs‘n “insurmm’f                                                  lialslﬁify                     aiming but ufﬂie uwngmhip m: npemﬁtm Ufa iﬂmicle‘wiiil’oi't                                                             i5   being rmhzad
              ri'r
                         Mm; m mum‘s. sLIhiw m gm}: {gimdiilmial sale qr-{nlrdma mgrémncm nor Speciiﬁmlly dmﬁhmi m
              tlu’:       “ll cclamlicuis“, Limit
                                                                                                     :21           a public. ur {Wary canw.}':lnm m“ being used in                                                 mumﬁun will; a tmnslmrta-
              Linn         network {imitatm ﬁtting used                                                                                    gamegtfamith
                                                                                                                                     Jo,                                          :4
                                                                                                                                                                                       ‘Lrangpumti‘an nemqr‘k_lp]a£frmn Includes                         hm
              [a_ntyg’ﬁﬂnittd                              .‘tnmy péflmi hf ﬂint avﬁliqm                                                                   i5   being used. by              {Ln    ”mwrcd' who                  ls;

               L ingged                                 0111   f0            £1
                                                                                   “THE"? ‘nqhne‘enahlgd                                                 sippljcgtjan             m‘djgigj Ynei‘mrlgas ‘3 dimer,                          whﬂhm'    m ﬁn! a
                          pliéenggr                            i5“"f}§:lc_upying“                                        1h:    1.1411421313)‘            adelivﬁ'ry ﬁsrﬂgnmenk him                         héun aﬂc‘epied; ur
              Z.          Engagea in a ‘prmrmrqged ﬁdeor t_rafr‘lspm‘tatiun                                                                                               Service; or
              '5.
                          Sawing; pensnns or pmpmtyfor a charge.
             This thlﬂsi‘qn ihfn} does'not. apply [a Shiredhermp'enséca
                                                    a                   pm]?
     6.      Wlﬁiei‘pmgﬂwféd                                         (1r           p‘ﬂlemtise éngaigéd in [ha "bilSj'nfer 0E:

             II,-         Sailing;

             b:           Rvpiﬁtmgé
             c            Senicin’g';

             :‘I.
                          Smrﬁjg; 0r
             e,           Wm:                                                 ,
                                                                                                                                            _        .




             velz‘irctgts             {lasagna} {gr :use nmin‘ly m;                                                                  puma highways; "111m in'ldmlcﬁ mt] raging 21m} dqﬁveqmlis Exclu-
             siam'         (Mi?)                        {1:12:29             mu simuly m ttmnwnmmp, mamitasnanm m uSasd ‘wrlr écwﬁjréd aw)” by:
            'aﬁ.         ”ﬁnk:
                                               _‘                        I
                                                                                    I
                                                                                        >




             bi          AH}? "‘himﬂy Iligrnmer"; (“#1
                                                                                                                                                                              a


             11:1.
                         an}?     wring;                         awn                    '11:         culmpyygniygm                                  {1ft   any "Milly mismlmr".
     '3‘.
             ‘Mgtljhﬁﬁing                               {1r    using 3m? which:                                               #111133.     [11:13        “inséumi”           is millfy1‘evagitiw‘lj):      ’Qihmvjém            imgméd      tn   guy "iljusl:
            néss" ‘(uihtrﬁnmfafniingm mlngﬁing)                                                                                             mt dmrlhed in                              RKCIL‘EEM         limﬁ,

            11th: Excl‘usicm                                   (53;)                        duics. m)”: ajsgﬂy                         m {hi3 iamluuénunm} m                              1151?,   uh:
            :15          Pmﬂtgpmmgnrauux
            h-           Pﬁc’kul'iw                        m; ﬁr                             ,




            c,             Traﬂeru                                       _        with;      a   nzt-Iucile                   desdttbw                   1:1.st   gr    umm,
     8;     using :itghiélﬁjw'lh tint                                                       n:   imé‘ppahle héﬂéﬂ [hid ﬂint                                            {‘in‘slu'fgéd“
                                                                                                                                                                                           is Laiﬂﬂrzd       l1)       dig   suThlx Exduljddn (5.8.)
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            dws'n'ot apply
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                                                                                                                   whiff” 1.15mi: “Tour                           ¢m§r1erqiaui¢f
                                                                                                                                                                                                   whg‘ch   m      mvwwm.
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     9. For ”HQﬂiﬂ-iﬁg'uqr'? m" "p‘mpeny‘dam‘zigE'i forﬁ‘hich                                                                                                            Ehiﬂ.         “insufedﬁ:

            a-           1.5511inﬂatedru'ﬁdgrit'nuiimr'gneirgyliabtﬁg:pnﬁcymr
                                                                                                                                                                                                     _



            b.           W'Q‘L'ﬂd‘                be in} 'msiféd under in ﬂuﬂé'ir’en'ergylliabiim policy but for its femu‘natiar‘l uptm exhausmn
                         0F    iL‘i       Limit            0f liability.

            A     nuttéiu' energr'iiﬁbiliqr‘poliq                                                                            i5 11   puiici; 135118]              by any ufihe‘ﬁaﬂowmgnr-ﬂmr                                     mccc’sso’rs:

            a-           ﬁnCFﬁﬁEﬂcm’ iif-fbilib' Imam?! ﬁssﬁéﬁifom
            b.           Mufl‘n'a!                mamicﬁﬁuﬁg Liabiiity Uﬁdumrilefs;                                                                               or
            a            Nuclmtr Insuragg‘g Aaszp‘atiun qu‘anmh,

8+   We dc} not                pnm‘de                      liability                        Warm: far'dhenmeﬁhip, minimums m‘ use of:
     l.     Myveljigélgwﬁidiz

            a.‘          Hgsf                 'ﬁgi‘ iihuj                         fnur whééls;                               éir

            h.           ls i3};
                                      .
                                              gned 11inlniyﬁﬁ lgg’uﬂppﬂiﬁ ands

            TIES mﬁlnsibn'                                     (Bil; (ma:                              11;“):            zijjﬁl‘r:



            4L           Mtileggei‘lﬂﬁidve igl‘ua'smgum                                                                              byan‘ﬁnsun                          1n       aiami‘nﬂ emergenq’:
            b            Tuiany“*iriiler”mr
                                                                                                           I




                         Tn‘am‘x‘
            c:                                myniwmétl                                 guif m1.

     2.     gin}; Miiﬁlg‘z, 1311301“                                         ﬂmri           “yt‘iur                cmemiuulrj”. which                                  isi


            a,           W13 Emu; m:                                                                                                            _




            b.           ﬁxmishgﬂ                         ﬁnr :i's'uilnblu‘foryuur                                                 regular use,


                                                                                                                                                          5
            USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 48 of 64
            3 Any vehicle, mixer main “Wt meme] namif'f whlﬂa                                                   'isr;




                    a,     (harried   by   :‘mj:     ‘fﬁm’tﬁy   number"; m‘
                    IL     ﬂmnljshcd 9r smuﬁahlc [0r                       1hr.     regular    use.
                                                                                                      03‘
                                                                                                            my “family mmnbcr",
                    Itowjnfyrgr‘.’i‘fﬁixdugijqn
                                           'g
                                                         (3}) dmﬁﬁrﬂnppiy; then                             this Iixcluginn [3.3,]                dome nut     :wpiy' :0      you Maileyuu
                           mammal               m“   *‘tmcumip'gf?
                    {tie
                                                                               my      militia which           is:


                   a       Mama, by        :1 "tr‘mnfi'ly   mmnm‘ﬁﬁr
                   h?      Fumlshgixl (emuiiah‘leﬁir                       .2211!   wgula‘r use 0E1;             :Huily           wmlbcr‘h
            *1     My      vghjchylmraizul            mid;       :1   luciliry d(m‘igued           forming,                  for   111a   manna       GI:

                   9..     Cmuwgingin;             m                  ‘




                   h       ilmctlcing n: pnrparlug far.

                   ”may    {irmrrnngcd          omrganlmj                  racing qr          51mm mntmr
 LIMIT 95            {mum
     AN:   The limiz         (if lljilhﬂJiyisiimm        in tht} “"Ihilmllmis"                   l‘u'r
                                                                                                       mi: jm'nscin Im‘ Md‘liﬂnjuﬁ'Ughﬂily mi: 01:1:Ljiniign1           L4:


           limit     g!“
                           Jigljiﬁtﬂﬁr all {Landau inﬁlyding                                Mum       far cart: 193;: (hf Sﬁmws ﬂfr death, iﬂﬁﬁg {jumffmytliiy
           minty“? 511313111131         many {:n'epcmm m myqnc-a’um “aﬂidmu’i sumac; [a                                                               this Ihuit’ﬁ'ar'mch        person.      lhc-

           [unnigf‘ﬂg‘hjligy $1194.“; [n the '“Dcchmzimngfj’far graph “‘acdd:bt"_ihi~ﬁndﬂy                                                                                    nu‘r
                                                                                                                                                 injury     Liability is             mntimum.
           limit (if imbﬂity‘ for, Migﬂﬂ'm’lges 1'de ‘fhﬁ'dﬂy ilnjtiry" rgéttlling Fight                                            ‘la'ny   rm'gﬁum"“éijxtddeﬁft

           The limit dF‘uabﬂity shuimin the ”fBégl-ﬂmtiom‘i Eur each “awidﬂxt'ffor Property
                                                                                                Damage Liability 15‘ ﬁur
           m'ﬂﬁm'ﬂm 11m” Of 'litﬁiﬁiy Fowl! “'pwﬂf‘rﬂr"¢uni§xﬁ£~"* reﬁlling
                                                                            fmm Em? m1: n‘uiq ”>'ai<':cid§ni“z


           If a’slnglc limit          of‘liahillmg          ahwn in     f'chlu‘r‘aﬂpns" hi. M55! lﬁ§uF¥UfiLhilltymd I'mpcm
                                                                                    {ljée
                                                                                                                              ‘DamAge
           liilhiﬁtykﬁm'gmgt cambjncd,                      iS'jlhc monm' mill
                                                                               pgly {OT n]! ﬁﬁnﬁi‘gmmﬁuiﬂﬁg frﬁm u}"n'qe “gnitftdgm”                                                           it:
                                                                                                                                                               ‘



           the liability limit shuimfhj,                the.    ”Dcc’igturiﬁns“,

           Wé ism apply ihe limit tifiinhilitygﬂ provide ﬁrm; sépamie minimum                                                             limits réqliired hy'kl'w fair bodilyiniury
           and     pmwﬁy dnmagu iiubiziiy.                      ﬂmvmrer,              [his Pm'xiﬁiqm will               m1        clumgu'aur     101:1] ﬁmh’t‘rfiizmhilily,


           Thi}: iSﬂmﬁQSI ‘wﬁ {ﬁll p33“                     régafdleﬁ               L‘iflhe   num'hg'r bf:

           1.      i‘hgmag;
           2;      ﬁﬁmﬁ‘mgdé;
           3;      S’Laﬁcles      u? prmtiurﬁs          511mm in utege‘ﬁnwlmtiﬁm"’mf
           é.      Vehiclags      imﬂmd inﬂate :1'1’va‘ﬁccidenlf".
       ,   N9    uni: m‘ll       bummed m: réﬂr’iw duplicate‘ pulpnenls far I‘m: sinneeiemunis of lust: tinder Ihiz: cm‘mgeajnd:
           L m_nimrmn cgrmis’yajjjégam'
           2.      :Sity   Linda‘rinmriﬂ         Mmdﬁm Criviemgajrrm‘ided by this pang:
olzfrorsfrmx‘ﬁgfmmﬁ
                                                                                .




ifasiamu ffatcidml” ‘Lu Whid; Ihisptylsiq aﬁpiies ‘murs‘in                                                     <12“:     m" pﬁnriﬁﬁgo’lhar Hum
                                                                                                       :jmyﬁ                                                  the {mg in winch "3'7:er
.mvmd augcii"              is’
                                 pﬁmﬁp‘ally mgcd., w}: Mil                          human        y‘izsur    palm for ﬂmi “.gigizﬁlcnt” m; fnilmﬁsi
     h.    !f ihe‘ Stale.        6E jim‘vmtr him

           a gﬁmmcial responsihﬂitg arsimihrylmy‘ smiﬁﬁﬁg                                                    nffrlbiiityfor f‘bmﬂly injury“ {Jr ‘fpmmm‘
                                                                                                 iingits                                                                             (Imago?
           higher        mm mg: llguh 3mm m                    ﬂap.       "“mﬂargrkﬂns’x 313m paligy WE}                             pmﬁﬁullm lrjgharspwﬁmi                      [i,mll'.


     8.-   Nu    mm m‘ll he emiﬂad Io unﬁlimepaymenm fur the same. zelmaymw of lass.
FINAECEAL RESPGNSIBELI‘E’Y
When       thie;    poliﬂy‘ljii'cismlied am future                11mm! qr             ﬁnmmkﬂ         rbsp:‘;ri;:‘ibili13; 13x13:            pnlicv   nﬂmumnphw mm mg                   [aw   m
                                                                                                                         ’    ‘                                     '




the.   011ml reindmlc

0mm mstrmpt:
If   thew: is znllwr ‘apﬁlicahie liabi'lim’insmrmjte:
            USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 49 of 64
 1h                  our shire Mme loss 0m Share me. promrﬁun mm uur’limir of Hamlin bemm thewml
           We- will pay n‘nhc                                                                Is

           0f, ail    applwhiz Emir» [Iqmrumn                     um inmmmze wt: plumb un                               b01133)“ 0|   an ‘insmd' using “your m'lérutl
           aum' 'shull ﬁn!            lac   exhaumtml
 B.        Any    Immune; we plundu                   for   :1   Irellici_e   won du         um mm           Including .mv thJclc       whﬂe trawl :Ls a icmporar}
           Huhﬁﬂfule fur          "1mm ensured           Eula?" shall              bje   Bums mu am}                  nlhtr   cbﬂmﬂblc Htsunmcﬁ, exLepl in me fnl
           Iam'ng slnmiuna

           We will pmaide primary idsumnco                           mm        ﬁ'eh‘lile
                                                                                             3cm    d1: 1'ij      awn:
           L mm: wlliclels insured under a punt}: afﬁmﬂng coverage w amum'ni insured mgnged Ln the “hmsineas
                 of;


                 am        Sﬂﬂng;
                 b.        LEgsiug:


                 cl.       Hamming
                 é,        Mingling.
                 11        mama;
                 g;        Rum;   waging:
                 h.        Barking: u!
                 L         $013332:          I




                 mater vehiclm. This applies unly                      if   you m" any            "l'amiiy       member“:       -




                 :L        Me nimraﬁng the vehicle; and                                                      .




                 b         Are   neither'mcpma engaged                        ln    such “luminessa” nor                le pemm's employee ur :1ng
           E33   lflhe vehide         ls    leased   hymn        under a Written lease agreamrjm 21nd gnu 11ml agreed                                      m pimirie cmemgc
                 far mu:- npemtl’nn               nuhe vehkle
 (L        Any   imumnm we pfn'aide fur a whicle fmu mmslmil be excess luthut afa pent“: Engaged In the "haLsiness"
           0f

           1     Smringz
       2         ParkiI113;
           ﬂ     bemung, ur
       «i.       Repannng,

       niathr          i‘t‘hiﬁles, if I110        Ju‘ukm         (x(curs      whim         11w which!            LS   under jﬂmt persim           s Lmit'rrii   hr   ll“;   mnlml   u!
       ihai      ptrwm‘u empimée 0r Small.



                                        Pm B — MEDICAL PAYMENTS mmmGE’
IVSUEING AGBEEMEGT
 h     We m‘ll             pay   rmnzlhle expenm incurred                           fer    necessm medimi 3nd {unmi semiﬁcs hecmse uf                                          bodily
       iniujry'        I




           1     Cansé'd b3        "amdunt" ﬁnd
       3.        busulntd                    'Inxlircd
                                  by ail
       M m]! ward} Ihum'mmwinuamdfnr whim rmﬂcrﬁl Wimin                                                                       2 gears fr’nm        i119 dziie‘cbflim‘       acddvm'”
       ‘


 Eu            Insured      mi usedin ﬂﬁs           Part means:

       1.        YOU 0r       an}"‘-'Iarniiiy     mamber":

                 z.        While “occupying”; qr
                 b.        M a pedesﬁizn Mum struck b\;
                 a'muiut' Txehich; deajgned En: min! m‘ajniy                         ﬁn public roads or                 a lyiﬂer      o'f
                                                                                                                                            31131131113.

       2.        My mher          [x'ejadh       whiie' occupying ‘Tnur                    rimmed auto"
mmsmém'
Wu   dovnnt provide              Medial Pigments            Cm'cl‘nge far                my “?inwmd" fur ?‘bodily injurf:

                                                                                             7
     USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 50 of 64
     L Slitilaunﬂt} Mjilt‘f "tungying"  mﬂtsinié'ﬂ WMLie having ﬁrmer Ihﬁn [our whédt'é
                                                                               arty“

                                 'd
     24 sustain'c while ”occupying" “wilt Cmtmcl aura" whgnit itis Mug rmlcxl ur liaiséd m mhm suhitﬂ
               t1:   any mndithma] :ulu arjmruiiam                                         wmnmﬂ mt smilimﬁly dcscﬁbcd in 11w "i'lcclnmlirsm" “r mam
               as    .1   public.  mmgjamce cameymae being used Jn‘ muncdjnn “11h alranspﬂmtlou netwnrl-z
                                       0r thew                                                             m
               plaifonn Behig’ ﬂuid 1n mmecﬂnn with trumpemﬂnn nmmi'k pLLﬂ‘m-m [ncludts hut is nm limiiied
                                                                                                      :1


               to way penod oEﬁme a vehicle is being uSed
                                                          1mm) "maureti who Ls:
                   Legal m1 10 :1 “TNP’S' onlimnahteﬂ application nr digital network amdriwr, whether or not a
                      pmsenge‘r                 is      *‘mtupyiny             the.    militia pr adeiiver}                  mugnmcnl has béen               nccepjud; or
               ‘2.
                          Engggui            m a preammged ride u: armpumnun wmw                                                         njr

               :5     mid}; persmas at pmpeny                                          l‘u‘r’
                                                                                                a charge
           This           Fuluﬁtm (2                     3 ﬂats mat anply m a nhm-ﬂmmpum mrpmi-
     3;    Kusmm wiii                        11:        mum‘mg” am which?                             mum
                                                                                   [or use 4;: a: mideuw m‘                                              mmm
     ti.   (Ruuring during the                                   mum} nfmpltmnem ifsmrhrx                                    :jumpénsﬂipn beneﬁts mu r‘E-quired urmnﬂﬂﬂc
           fur the "badﬂg Injury                                     _




     5.    Susiainud “hilt: “occupying”: pr                                        when          struck         b}.   amr which: (mhﬁr than            “war com'cd          auto   I!   tahich
           is:



           a,         {anpd            by       mu; ur
           h          fumiﬁheﬂ ur mmhhlc far mur regular                                                   us‘e

     6;.
           Susiaincdumlc occupying Hurwhen struck                                                               b},   anywhiclelulher than “yam                  uowrc-dI-auicf’}       1541:1211

           is:


           a          [1in hymn                           ‘fmﬁiiy        member gar
                                                             u‘izablefn‘r lht- 'r'aguhr
           b          Numixiicd ur an                                                                  41:29.   nfxmy “Emil; membér“
           Hﬂwewr. ﬁns Eidusiun {5                                        )    dim;      [1112   app]?      ll}   suit.

           Su’Siaincd white                        "0chan                      avehide           mmonta IL                isormbk     heiicf than   13:11!   'insuml”   is entitled tn tin

           5r.»      Thix Exchlsisén                      (‘3’
                                                                 }   dwsml         mplvln’t“funlwnmnbt                               1min}:    “wUrwumchtu              MJiLhismmLa]
           bvwn.
     8.;   QuwwncdMull:“vcmming”211.76;th                                                        «mm            thétmlng uscnlin               Hemminm           nfﬂsa “inhuman!          311i»
           EALINMI (8                       )   dlmnmlnplv 1a “bodilyiniun"                                        wumwwmle                    ugwpﬁng"
           32L        Emma mamnger mum:
           b          Ptkulmrm ﬁr
           c.         ‘Traiier              used wit]1m*r_11lcledtsxrlhedinn                                       orb      nhmre.

     9,    Caused       bmr ms                     11   Consequence 0F:

           :51.       Dmhuge 6f                      a‘
                                                          nuclear Weight;                 {Mn 'mcddmm")
                                                                                                      if
                                                                                                  ‘




           b.         War (dedsred or undeclared};
           I;        Civil       kt   Jr;

           d         inwrrectmnmr
           e.        ﬁehellmn ofmmluﬁan.

     l3    From            or;   is a consequuncg                        95.   ﬂiéloﬂiéwiﬁga #héﬂue‘r                     ﬁdn‘trr‘olléul    Dr unforit'rqltod o}    Emma gamed:
           a.        ﬁllélenr           mama;
           b.        Ra               'nn;   m
           c.        Rimoacme mntnnunau one
     ll    Sustained whiIL “nccupyng‘ 2m} whistle?                                                    19mm L_nsidt-           fJ   fatiht} desig nnd far       rising fnr   1h?"   pumpsé‘
           0i;


           a         Lompwngm                           ur
           h         thung                   or      pmlmm fur;
           may ptm‘rrmgml or                               pygmgﬂ maﬁa nr' 51mm gnaw.
LIMIT 0F         Nﬂltlﬁ'
                                                                           ‘

 A   The   limit          of Iiahiﬁg shown Ln ihe                              Deciaraﬁam”                 for lhiu       cammge      1's
                                                                                                                                          our maximum limitofliuhﬁiwfnr catch
                   mmy one ".xmdont
     parson iniuwdin                                                                   This: is 11w         mmi wexxil]            pa}   rtyrdlm afﬁne nnmh-m {3F


           /
                                                                                                            8
             l.
                USDC     IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 51 of 64
                  “InSﬁL‘erlgi”;

            2+         (33mm made;
            3;                armcml‘ums 313mm
                       Vehicles                                              in Elm     "Dieclamﬂmm"; or
            é.         "fﬂﬁcl‘cs in’vplmd 1n the "?;lccidentvfz

     BF     Nu am: Mil                    ht   mufﬂed         m ream dupll‘cmr: paynmmgfor                     ﬁn":   same dcmmts ﬂflasseundcr Ibis: cm'cmgg and
            L Fm Afar Part Q                               flf ﬁgii; li’gjjggiif
                                                                                                                        I
                                                                                                                                          _




            2.         Am,“ Uninsured                     and Uridé'tinsluredMuersm                 leemgc pm-dded by lhls policy
     Ca    We mix                1,11   our upiiungpay abrimlmgpu due                       ins:



            1,         the    Ensigr'.u$cl,_         m?
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011ml: INSURANCE
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                  b.      Is     0r hemmesfimnhent

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        USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 52 of 64
        L mm: by {3r furnishml m mﬂahie fur regular use'ul‘ you or any "Imﬁily mgmber”.                    the.

        ‘2:
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 B;    We {la          not     gamma          Unjnsrrmi Mmmn‘sls                          mmge fur ”Wily                                               inﬁnity" sustained                   h? any i‘inzs‘nmd“:
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       L Warkcﬁ (zunlpimﬁicm                                       law;   m
       2,        nmbiutybeneiﬁas                  law.




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  USDC  IN/ND case 1:20-cv-00124-HAB-SLC                                                                                                               document 6 filed 10/17/19 page 53 of 64
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 .3.       If   ﬂu! mmmgge under” ﬁﬂsv‘pﬁﬁcj'                                is   praﬁﬂw;
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                                   PART I) a COVERAGE FOR 'DAMAGB 1‘0 YOUR AUTU
WSIJKIHG AGREEMENT
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           USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 54 of 64
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                 “Mrinwrwch:Ridgrﬁgmty'Apmryl“                                            Inzgwwmmﬂ                    dgﬁign‘a‘d                m miﬂlmtzé                    iniury‘   resuming frmn a "nigh
                 miigt‘lc” .mgjcldem,                   ms in‘tgludﬁé‘hm                      is nail liri'ldiéd            m:
                 :1.     Helium          inciudfng              mmmunitiaunn danish; pemm‘nen‘tiyrmiathéﬁ                                                              tn the    hflmet     for       mm hyydﬂ m a
                   y
                         pmugen-                                .




                 bl      Prétééﬁvﬂ-clﬂﬂlitigq“

                 g.      i’rﬂiéc'ﬁjve     boots;




                                                                                                         1'2
            USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 55 of 64
                  d,       Pkmetmiuyommnd
                  La,      Emmett“:            char amd mm’mr;
                           m minimum i‘niuw
                  “includes bu; not limited                            10:    pmlecﬁwe hckﬂts panb                             suits    min     gear!    bbdv armnr         undmwm 50ka
                  ﬁsts          11m!    neck gar which                  gun!            designed cpmﬁcaliy ﬁir mntortyth.                             gafmuse
            "Cum”! equipment,"                           Lines   um include glcﬁmnlc equipment                                    1m] r‘epmduces, recer-q nr                  tmnsritlis         audim
          M dim ﬁgnzls.
            sisu‘zﬂ


    HLWPORTWOV WENSES
     A      in addition            M. will pay, silhoumpglimﬁon                                           0T a deduéﬂble         up    Iu; a   mmmu‘m M $601} ﬁn"
            l     mpnrm lepanmmn menses no: exceeding $20 per dav jmiumcd                                                                                 h}:   you in the    amt of        3'
                                                                                                                                                                                                 Jeri? la
                  'vuur covered aim)" WL-                             m'll
                                                                               pay fnr such uzpuuses                      If   the loss   ia   caused     b}.

                  a.       0111c":       mm "callis'iaﬁ bnh'                        '
                                                                                         {1'
                                                                                               the    “Dcchrzmum               indicate       [hint   01hr: Thin mlﬁrﬁon [:mrmgz}                        i5-

                           prxwideﬁi for            11m     mm
                  b.       "Lolﬂzsion" 0111}               if   ihe    "Declmﬁonx                          indicate that Collision             {Name ls proyaded             [Cir   11ml auto,
                                                                                                                                                                                                     V




            2.    Expenses forwhich you became                                           legall} respun‘sible in 1hr:             swam of I054:          to a   “mm- nmwd :mm           ’

                                                                                                                                                                                             WBMLI
                  pay Em" suéh amenity                          if   me I03 15 mused by}
                 :1;       Uiher        dun “common only H lhu “1}cci‘armon5                                                   indicate       lim Other 11mm            {Jnﬂision    Cmsemgu             is
                           prm'ided       hr ml} “mm cuieréd 1min”
                  h‘.          ‘l‘nillxwu          m_ly    3E I112          Ikwﬂaraxtqlnx'“ indicate ihat LnJIisinn                             (‘mumgc          in   pr‘mﬁdui Inf     am wur
                           Emmett          uuic'l

                  E‘iﬁwmr. the              mcys'l'
                                                         we win         pat}        fur may          expmm far lgss‘ of use is $20 pir (,le
    ﬁr     Suhim           Er) thf‘e    prmwom (:Fhr&;,r.e1‘l?                                 SE    if   me. him   Is   ﬂawed     h):

            L Hmal               lht'ﬁ    0f 3m}? emilred antifuru                                        nnnim'niﬂzu‘m)"              MW?“           pzlwnly'   mpmwhinmlmﬁ                     (hiring;
                  {he period;

                 a         Beginning          ~?Mmutuﬁvrthelheﬂ and
                 b         Fndmwhen“wurmwml.mln“                                                    mhu mmmmd’uunﬂx ramming) usju orwe’ my furnxlu»
           L.    (mm: alum lhéﬂ UH “ynurwmrw amt)" Dr a 5‘l'1c‘mmv11mi .mw“ 1w iﬁﬂ                                                                         pa}    (1:11}   (:xpmscﬁ Eliginnrﬂg
                 (slugs; tire mum MIhdfawn [mm lbs; Int mare {ham 24 Lauri;
                                              ja:



           (Mir {113mm                 ‘m‘ll hi:
                                                   limited {a lhsu iwriﬁif «Jfluiw. rin'ismhmly requirtﬁ h) rtpair (1r                                           white: ﬁlm ”yum mm‘ud
           aum’”         "ﬁr   ﬂie' nmj- rmnui mun'                     z




    mumsﬁm
-


    m    wjil   not p’av        for-


           L             "11W muted iii
                  Liis$ 1s:                                          WW
                                              {131} “Humaxmm anti)“ winch maxi}: white i1“15 hung rented ur luau} iii”

                 0’s!
                        suhjm many cumiitium] de‘orpnn him: agxe‘smnuitmn mccmmﬂy‘hsrrihulh: thﬁ‘ﬁéﬁim
                         113m
                 signs" um! .sza public 0r [m   wmwmu or being 11mg m cumming: m‘tch a mmmmﬁ ml umfmk
                                                                             ifs:



                 pl_mhrm Bdngmedm mnﬂeﬂlan with 1: trampomﬂon httwork plmftmn kncludes hut is not limitéd
                 w 3m} paint!                (if Iimic’ii
                                                                1'   *lliLh:    ii;      being       inset! Ii};
                                                                                                                   any "insured'
                                                                                                                                 wh‘n             ts:


                  [Logged 1m m TEN nniannathd Applicatjon urjdiglml neiwmk 95 a ddv’er Whether nrnnt a
                     .                              1i


                    pmenger la '“uccnpying {he wiﬁtie Dr '3 {ltlhénr aiﬂgnment 3135 bcui accepted;                                                                            m
                 2—       Emma             m        prwrangﬁﬂ                  ride mi              mmwumﬂan service;                   fir


                 3        taming persons nr                          pmpmy a charge      fur

                 Thls Exclusion (I )daes                              mt app}; tn a shmathe-Mpense                                 car pm)!
           2.    manage due and conﬁned ta.-
                 :L       \I   ear and tear;
                 b        Fmazing;
                 r        Mednnjcnl 0r Electrical brt‘ﬂaﬁmm 0r [mium 0r
                 d.       Rudd (image [n tires;
USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 56 of 64
     This            Exduuun (‘3. Mum»                         [mt apply ifﬁle thtumgu results                      from the    101:1]   thEl HF          gum covered 3mm“ ur
      any           ”mm 2mm! gum"
3+    105$ dug:               m or       3;;   a   wnuqucim                    of:


     a.             Radmmvmmlaminmum
      It,           Iliuiurgg nfm‘y-                   “mgr wumn                       [mun      if    AnrkimLﬂﬁ
     a              “131:    (dmimﬂ                gr undmrimd}
     d.             Civil    Wan       ‘




     e.             Insurmgsiamoi
     f.             Rébhllibﬁ         [3r   i'm‘rﬂuﬁnn

     L055. in an} Electronic;                               equlpmmttﬂlzu mpmduces, memes                              or transmits        umﬂm Visual          ar   [km          signals    -




     This“           includés 1)thIs [mt limited                           m
     .5:            Eddies and stereos:
     3g-            Tape decks;
     :9             Lumpam disk mgmms;
     ca.
           _‘
                    Magma watmm
                    Iniem'ct adc'tﬁ                Mklcmm
     ‘wiﬁ
                    Pmmul mmpuk n;
                    Vldm wterulnmmt ﬁstula»
                    TclephnnE-a;

                    Tﬁlmibiaixs:
     :rwrFm
                    Tim'imy mﬁhilﬂ                     rzcﬁhté’;
                                                        I




                    Scinh'e'rs, oi“

                    uiﬁzens band radim

     This Exclu‘sian (4 j dm‘rs nnl applv                                      m elmonicequipmem Elm wpemamnﬂ} insmﬂedin“ guurwvered
     :11:  3m“ nr            am“ mm fumed                      aum”.

     buss.           m mpcwrecurds                          disks   ur'    whet mafia um] 'wiih                   {ajutpmunt   dmﬁhed in Exclusiun                   4.

     This uxc’Iﬁsiou H095                            {uni fippl} in;


                        an           cudenial"               Ida‘s id      [he ﬁrsi        $203 (“imam            application a_fa dcdtidihle) 0f Llpm: record:
     dish» (i: miner media if thaw                                 fare:


     In         0.5mm          E15   wunnwﬁmulvmember" and
     2          In     tvr   upori    "yum uwmd aulu” ﬁr my “m:n«m‘mi 1mm" at 1m! simu,                                                    c,hf     {he   hm
     Atkjml kiss                w     “ypﬁr cuwgrm                    mun"           ‘or
                                                                                           any   ”non.- uimed       mun" due        In   dmzrumun 0r mnhamhun hv
     gmmmmml Dr cwﬂ Jurlhunnés m" i0 lhcﬁ by tuﬂ‘m‘dun
     This           Exelmnm (6                 ) 11cm         hm apply lo             lhé   mlurma ﬂf [n58 FAWN                in   mumwmd aim)“:
     L053            tit;


                N-‘lmﬂer ,ﬂumper bod}, pr nu‘wr‘home                                                  xsixichis 116133165511 Ln     llw‘mdmnuns“                   or
     h          Fauiﬁﬁﬁﬁri‘quipmml                              1156i]     With       mch    “‘imﬂer“ ,anper
                                                                                                                       hwy 0r Innlrrzrhame                  ?,aciﬁlitzﬁ
                                                                                                                                                                          m’      Etjiﬁp,‘

                mm           indiigtv       hm 12m nm iimitu! m:
                (l)          anjhng, dixiingm §umbing nr rufngmmqn Eiﬁliﬁcs
                (2)          mm ugs            :ufr-   uimm           {3r

                (3)          Any     mhg’ér facilities              Dr mjuipm:             m used M111       :1   "Kmittr"   Lampu Hwy,               ur 131mm hnme'
     ”mix:          M111: him (“M                        n’m                    m a:
                                                   dings     mil;
                “Taller" 31nd                  1:5     Emmihm m :13qu mm:                        whi ch yuu da        mm mm;        ur
                                                                                                                   mm mm
                                                                                                                                                                              I

                ‘
     h              1mm              tamper bath!               (Ir   ﬂu:   Indium m: muipmm                                   hurl      m lh   1
                                                                                                                                                    “trailer“ﬁtimmpgfr bgrdy.
                                                                                                                                                                          ’




                whjéil full:

                (l)          Atqlﬂr': durlJug                me puliqr period; and,
                (2)          Mk    us‘     1n Insure          “1an 30 «law after you became tire mmqr




                                                                                                 lei
       USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 57 of 64
      3.       Lusaka :my “umi-ﬂwné‘d 1mm" Mum um! by ymj (army ”family member” wiaiicml                                                                                                                   :1   ‘mmngmle            Inglief
               that ‘me qr aha: “mull? mmiber" iim‘mtillm m aims.

      9,       Lass      Iomuipnzcm ‘drsigntd                                      or used rm" 111:: dgztedicm m,                                  lmﬂuu           of     mm Dr               Instr.
      ID; Lugs; [o          any'mﬁmquulpmanz” nrequipmmt In qr upon “yum: c’mered mum" ”orvgny ”'nmimmadaum‘i
               'Ihlg     ﬁscmﬁm               i l0.)   dm-s um sippiy' Ir: ﬁn:
                                                                                              ‘
                                                                                                         Hm                -$   I 5-500     0f *‘cusmm cqnipumut'T-ln Dr upL'rn                                    fmwmwwd
                                                                                                                                                                                                                       "

               aura"      WHY"‘nhmm‘f‘d‘ﬁutﬁ                                                                          ,.               .    ,               V
                                                                                                                                                                     .




      H- Lass            m me ’“ﬂﬁU-mﬂﬁﬁed Hum" Irma mainiﬁiuéd                                                                      {irllsﬁd'w ans               Emma whﬂﬁemplnwﬁm utilémisé
               Engaged              ill    the 'r‘bﬂsmessV’ofi‘

              in        Sﬂﬁﬁgé
              h-        Repairing:
               c-       Seﬁiﬂnm
              1L        ﬁﬁyingivﬂr

              9         Parking;

              z'éﬁmlés          Miami [q'r             11543       im'public hi'ghimyxx                                    M5 Engiudes row! testiﬁg and                                       (léiiwr‘g:
                                                                                                                                                                                                                                           ‘




      '12.-
                  w
               Luss         “put asthma                 aura? nr unyffngun-owncd aum“, itmufed                                                                  insiders“:        Fatn‘lilyjdesimd for                     minim       far
               thewwwf:
              a         ﬁmmﬁnsviumr,                               ‘
                                                                               .




               IL       quigtingurpmmﬂngcfmﬁ
              any       pmrmngml m ormiimi                                              racing ﬁr      amid                    cmimst.

     13, Lugs: lo,              Ur hiss 0f uﬁe‘ﬁﬂ a '“inon-tmjcd same” fenced                                                               by;-

              a+        full}       in,”


              h.        Mg ?‘fumihv m’emher‘ﬁ
              if    a   mm!            militia    wmiadny                      i5       111%!“de         frrirm                 retgvgaring salt]:                19$ iii          113's     hf       111s};    {mm 31m         gr   'Iﬁus

              “faia‘n'iy {n’ea’nhcr'l liﬁsrsalm’ﬁ
                                                                               w the provisions nigny appﬂ raw mini! zagraémcm m 5km: [sun
     1i.      L935       m ?‘ymr caveréd gum? gr :mylHnrjn-wnifﬂ                                                                 £11310“
                                                                                                                                                imp       m “ﬂiminmirm in mt‘iuc‘ﬁ
Lump?              ”mm
At   Our. Emir u!               ‘l'iahiiily ﬁjr‘     lass   ﬁlihuﬂae                              [mrnﬁhma
     1+       Actual       twh'miua ﬂf‘IILe-ﬁplcﬁ'of                                         ﬂamgm program:                                01‘.                                          ‘

                                                                                                                                                                                                  ,




              Mum“ netessSary mtr'egutir 0r mplat'eﬂmpmpmy will: mixer pmpcny 0mm kim‘i mdmmiu:
                                                                                                                                                                                                                           _




     ’2‘


     itowmw,’ me                    mam we will {my fun" luss'w;
     L        mﬁ- “ijiin—mﬁgﬂ gulsziziéh                                               mi Vilfiilif    i5?   21'
                                                                                                                   1.5m
     ‘24      'Fjecmjﬁic muji‘memllhut ﬁjp'rfmju‘cgs, f(rééivés m"                                                                         lfimmhs              alumni,     mm!              m dam              signals,       which           35-

              [Jcmmjgtlﬂylgsmlkﬁ                       intﬂmmo in lcmﬂlmmmt um! by 13m aummmuiacmrur fur mistalhuiun '{af‘such
              L'Pq‘uiﬁitlguj,fh‘-'
                         3L? (XL                                 H                                           I                              I




     3‘       "mam?“cqummeint-mﬁrawnw:eiaxrgesedauw"'n.i~:apr'nwnsaaaura“                                                                                                                             is
                                                                                                                                                                                                           ﬁrm
aﬁ   Fugrlwiélrlyjsg ﬂuriiéhljgguiuu                        §§qu [0L helm};                             rgétu'm‘h: r&plstu                            dazuuggﬂgrﬁitdcil ﬁfopitny ﬁn be récﬁggééd
     by the app”:abieaedwuhre‘.snmmxme,                                                                Dummnm                                               s mo         nfaa‘iduédum will notﬁppim
     the      "'y'tfmr :‘qave'red            auto"   ma tﬂréq ¥?mlUslm1" with {mnthér ‘jrouf cmered 'iluio"~,v"*miﬂenj", Dr nmlm‘qdc‘
     insured with               L?Hiiudhm Family Muiual insurance ﬁxmgmy                                                                           oriII-‘Blfasmlb'                 mutant: Compan}:
     Our       limit     ofhabﬁitﬂor ﬁle :10hﬂpf aﬂ                                          lam-‘s 'm       13pm                    retards, disks mother media, 1:15 n                                        rc'sult    of any    one
     occurtcngeshall he [he                          Icsser-.,of                   §




     1,       $200;             ’
                                                        A
                                                                                                   7




     2,       the aqua?              mh “ﬂu: afﬁlﬁﬁiﬂm ﬁr damaged. property; or
     3;       um :nmummmi‘ry {u "rerp‘éir pr                                                 whee ihg pru’imtjty walk mhcér pmpeﬂyfaf 11kg kind aﬁdquaﬂigc
     An adjustment                    for   'depreciaﬁonmd phiﬁjtal condiﬁonwﬁ] he made in chétmlﬂhing acimﬂ cash rulue imhe
     event 9f a gtqml                  hm“                                 7                                     ‘_              7
                                                                                                                                                      I




E;   if   a   régnn'r, ur“          fepm‘ce’mem         mung                           in   haw? Iijsm HR?                      kind ormiuliﬁy: wt;                      will]!   :‘mi       gjiy'fm        mg alm'mm nf‘ :th
                                                               '       '
                                                                                   '
                                                                                                                           '                                                                                       '
                                                                                                                                                                                              '                                        '
                                                                                                                                                                                                                                '




     btnenniht.



                                                                                                                 15
            USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 58 of 64
 PAYMENT 0F M153
   may pug far [m3 in mom
 Wu.                                                           0r repair 0r replace                     1h;-   ctanmgué 0r            swim   property W‘c-nmx                 m    our .cxpense.
 rcwm m1?       pmgum m;   Mm
            l.        Tail;     0r    7
                                                                       ~




            2«        Th:      ad,df¢s$‘shijmin in              thismlicw

lfvegmrum 51mm prawn" ma 151311331? for any ﬁamugc resulting from                                                                      the Inca};   w: may m1:               all (1r     113m
                                                                                                                                                                                                       ul‘
                                                                                                                                                                                                             ﬁlm
py‘dpem‘ﬂt {art agrmd atlapprgusgd                                          mm
If’we                                                   nur‘
           pay for 105$               In   maney,              [ralmeulwlll 1nd udelhe ﬂppliii,ablﬁﬁﬂlfﬁiiﬁ-K FD! (ha                                   daﬂmgéd         073510;?"          PWW';
W12.   may settle any                     Qinjj'n'ibr Em)      1:31:19       Lithu-      wim 3min      ﬁr   nut:   mmezr    0f [hit pmpcrty;

N0 BENEHT                      1'0        BAILEE
l1akgfnsglmn§gz                  shrill r11):        11%:th- 0ir.l'ndiml'ty hcntﬁ! :Lm’ﬂzrﬁe'rlur 911w? hajlm'kir‘hire.

onmmsminm                                  I'm   nacowam'
Homer suurcgs. afmcmm also cm: ﬂwlmsmwc will                     nurslmreuf tlw]uss.=0:1rsharc is mini; prﬁpnﬁion
                                                         pgy (me
rim «mr'limixqf’liahitity laws, t0 tine mml cf ail applicahléjimjm Ihwmn any             me p‘mﬁclc;                                           mime
            .1.       For fyburrctwcmi m:nWshQD                                    bu.   excess   m that u! pawn 22132ng in
                                                                                                                    :1:                             llu‘:   “blusim‘ﬁs” of:

                      aw      Slrzrrh'ig';


                      ha      Parkllvigir
                  '

                      ‘3‘
                              S???iiFif‘S?       ”I
                      d,      milking,                                              >




                      mqian‘ﬁxl‘dcgﬁﬂag lug: occuljsﬁ'lliiﬁ “3m!" com'teﬂ auto“                                                 [5*   under mm“ permn‘s mutual pr [he control                                      ,




                      pf Iﬂlﬁt {Tigrspri‘s           cﬂpltw:                pr agent.
           [J ‘
                      With mspmgt              1:)    afimnsowned                   aum‘l'jhull         be     exam mcr my               ather Coﬂctuhlu               56mm         0f     r&cny'ar}:
                      including hut n91 zimitifd                           I11:


                      g.      3,113   gmregage         pmﬁdgé by 11hr: pﬁfﬂe: 0E ﬂu: 'fgpnﬂnmﬁ                                    anti)";

                      '1-     ﬁr‘iwﬂhei:appﬁidﬂilébhyéfm! ﬂaﬁmgc'iﬁzwzihfé; nr
                      c;     Any oghersmircé bf recm-e'rj applicizhlc                                   ti:   gm Ins;
maxim.                                                                       .
                                                                                                   _




  5.       {film           jﬁd j’oﬁﬁpﬁiit ajgr’jeq 09th:? :jlmnum Q! Mg, .ﬂiﬂgérmgy ﬁemsmﬂ :m appruJau! 0f limbs inﬂismsti.
           gm gamma gem ggl’cg’mpewn: gppwm                                                       ;-Iheji;m-       ipppagm a‘ﬁlnsﬁgkégrragi                 ump‘gig;   T11
                                                                                                                                                                                  gp'i
                                                                                                                                                                                         [fats
                                                                                                                                                                                                 e'r‘js
                                                                                                                                                                                                          will
           sigma             Elma} cléh vzdue‘ mid «the anmiuiyl of
                       seﬁmugiy              1hr”:
                                                                                                                          lass. lf‘m'u'y Liji    up:   iaigrétg   whey       m1     s‘iibmi‘t          their
           diﬁerences m'ihc mnpim A limﬁim agrwd m h}: 2111;; mu win be                                                               biﬁdjng;      Each Emmy      will;

           L          Bay i155 111:;ﬂeﬁ'apprﬁser;raﬁd
           2.         Bgmr 13m .mpuMs grille. appmiﬁai and umpire equaiﬁn

 E. Wei ﬂu not “ﬁive'gny                              uf nuf rights               undar :his      pang b3; agming lo an :‘Iﬁpﬂjm


                                          PART E n DUTIES AFTER AN ACCI'ﬁ'E‘NT im- msis‘
‘m‘c
       ham nu               (fury
                                    ta‘
                                          Wmide embrage. ulndcr‘lhis
                                                                   '
                                                                                             piillq' if ﬂuerﬁﬁlqr'e           m Cbmply'with 111E [ollmﬁng dung;                             is    prcjua
dicizll‘   m m:                                                                                                                                                                                    '




  3L       ﬁ-‘é'muiybemﬁﬁt‘ﬂ prompt]? {Imam whcnfand                                                   Mmm‘ mu ‘-?acécidcma'“ arm happened. Nome Should also
   ‘
           include           ﬂat:   'namrslanﬂ‘aﬂdmms                             p! :my'inj-ured      pemms and uf any: Mmessza
  B; A           [mm]:         seeking 5mg cm‘mg'c must:

           1.         nywlgumgﬁghjts                   jzn   1h; iml‘ggiguiqnal              Stdilemem 9r d(gﬁenm                 (af   anwaim gr Emil,                  V
                                                                                                                                                                                             _




           B.         Pmmpﬂyjsmd                 us    6:171:35:
                                                                   m‘
                                                                                 any mncw     {3r legal        pmwfs imam m                  cu.1us'c¢11my wﬁzll 1M“:             ““Mklcm”                   {Jr

                      [335:

           3-.        Suhm‘it, as’aften              aﬁwe      reimn’ahly require:-

                      a;     T4: liltyﬂhczil     twin”; 113.? phyizidm wc'scicufl.                            Wﬁ will pay far lht-SI:        mm
                                                                                                        16
          USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 59 of 64
                      b.   Tu exxmjrimix'm under (mm                                     and. 501193611!»             ﬂu: 5.1m
          it,     Authon‘m us                   m ubusin;
                  z;       Huiiuﬂ rqmﬁg and
                      h.   Other periinem records;

          5+ Submit             a.    written            pram of lass mien                        required hf           us,

   C"     a   'pelrst’m      seekirgg               Uﬂimﬁmﬁ hjirt1':ﬁ.sis'{2mien§q¢, nnusljalz'sd:
          1.          Pmmpxlmgigy                     [Iag’pdﬁcg if g ‘hipaﬁd—nm‘drisw isj'imwiviztdl

         2.           Pﬁfampﬂy Simdm qupiésj                             {2f    um am] {pfupﬁs if'ﬁ                    Saga
                                                                                                                                  “u.   ‘br‘imghl.

  l},    A pegrsgm     beam 'ertériige P{u‘ DmagQ T9 Yank mm} min"; ulm:
          1.      Take mmmhle sieps qitzesrhss t9 [mm "purlcmred 3mm“ or any ‘fnpn-psmed                                                                                              mm“ﬁaml           Iheir
                                            l‘n'mj'
                  gagqigimem   [u nher       WT: :yiﬂ 1m nrgygmabie mgmﬁgimgﬁw m
                                                                        lucisgsm
                                                                                                                                                                   11:: 111k?“

         2+       ?Wn‘gpth‘nuijfy                     L1akg‘jigtlicﬁ       11f   ‘fﬁru‘rpmimd alum"                     arm “?ulqgn-jmww mm)“:                         i3;   mishap
         3;       Penna        L13     lodnspc‘ct                and mlpralsn                  Elle   'tkumged        13:0me lmﬁjrc its muir ur                         disposal,




                                                                  pm                 :é-   g      aamnmmﬁsms.
HANLRUBM
Ban Emma? n'r jasmrcng                                will]?
                                                               ﬂu":   'ﬁinsuui!“ slum mat                      mum m“ nf 2mg rnggtjiq‘qns uﬁMr this gxﬂiqn
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        USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 60 of 64
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          USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 61 of 64
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           USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 62 of 64
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           USDC IN/ND case 1:20-cv-00124-HAB-SLC document 6 filed 10/17/19 page 63 of 64
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